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      M7(R1) Assessment and
     Control of DNA Reactive
     (Mutagenic) Impurities in
     Pharmaceuticals To Limit
    Potential Carcinogenic Risk

           Guidance for Industry




                U.S. Department of Health and Human Services
                         Food and Drug Administration
               Center for Drug Evaluation and Research (CDER)
              Center for Biologics Evaluation and Research (CBER)

                                 March 2018
                                   ICH
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Limit Potential Carcinogenic Risk

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purpose of this guidance is to provide a practical framework that is applicable to the
identification, categorization, qualification, and control of these mutagenic impurities to limit
potential carcinogenic risk. This guidance is intended to complement ICH Q3A, Q3B (Note 1),
and M3(R2) Nonclinical Safety Studies for the Conduct of Human Clinical Trials and Marketing
Authorization for Pharmaceuticals (Ref. 3).

This guidance emphasizes considerations of both safety and quality risk management in
establishing levels of mutagenic impurities that are expected to pose negligible carcinogenic risk.
It outlines recommendations for assessment and control of mutagenic impurities that reside or
are reasonably expected to reside in final drug substance or product, taking into consideration the
intended conditions of human use.

In general, FDA’s guidance documents do not establish legally enforceable responsibilities.
Instead, guidances describe the Agency’s current thinking on a topic and should be viewed only
as recommendations, unless specific regulatory or statutory requirements are cited. The use of
the word should in Agency guidances means that something is suggested or recommended, but
not required.


II.       SCOPE OF GUIDANCE (2)

This document is intended to provide guidance for new drug substances and new drug products
during their clinical development and subsequent applications for marketing. It also applies to
post-approval submissions of marketed products, and to new marketing applications for products
with a drug substance that is present in a previously approved product – in both cases, only
where:

         Changes to the drug substance synthesis result in new impurities or increased acceptance
          criteria for existing impurities;
         Changes in the formulation, composition or manufacturing process result in new
          degradation products or increased acceptance criteria for existing degradation products;
         Changes in indication or dosing regimen are made which significantly affect the
          acceptable cancer risk level.

Assessment of the mutagenic potential of impurities as described in this guidance is not intended
for the following types of drug substances and drug products: biological/biotechnological,
peptide, oligonucleotide, radiopharmaceutical, fermentation, herbal, and crude products of
animal or plant origin.

This guidance does not apply to drug substances and drug products intended for advanced cancer
indications as defined in the scope of ICH S9 (Ref. 4). Additionally, there may be some cases
where a drug substance intended for other indications is itself genotoxic at therapeutic
concentrations and may be expected to be associated with an increased cancer risk. Exposure to
a mutagenic impurity in these cases would not significantly add to the cancer risk of the drug



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substance. Therefore, impurities could be controlled at acceptable levels for non-mutagenic
impurities.

Assessment of the mutagenic potential of impurities as described in this guidance is not intended
for excipients used in existing marketed products, flavoring agents, colorants, and perfumes.
Application of this guidance to leachables associated with drug product packaging is not
intended, but the safety risk assessment principles outlined in this guidance for limiting potential
carcinogenic risk can be used if warranted. The safety risk assessment principles of this
guidance can be used if warranted for impurities in excipients that are used for the first time in a
drug product and are chemically synthesized.


III.   GENERAL PRINCIPLES (3)

The focus of this guidance is on DNA reactive substances that have a potential to directly cause
DNA damage when present at low levels leading to mutations and therefore, potentially causing
cancer. This type of mutagenic carcinogen is usually detected in a bacterial reverse mutation
(mutagenicity) assay. Other types of genotoxicants that are non-mutagenic typically have
threshold mechanisms and usually do not pose carcinogenic risk in humans at the level ordinarily
present as impurities. Therefore, to limit a possible human cancer risk associated with the
exposure to potentially mutagenic impurities, the bacterial mutagenicity assay is used to assess
the mutagenic potential and the need for controls. Structure-based assessments are useful for
predicting bacterial mutagenicity outcomes based upon the established knowledge. There are a
variety of approaches to conduct this evaluation, including a review of the available literature
and/or computational toxicology assessment.

A Threshold of Toxicological Concern (TTC) concept was developed to define an acceptable
intake for any unstudied chemical that poses a negligible risk of carcinogenicity or other toxic
effects. The methods upon which the TTC is based are generally considered to be very
conservative since they involve a simple linear extrapolation from the dose giving a 50% tumor
incidence (TD50) to a 1 in 106 incidence, using TD50 data for the most sensitive species and most
sensitive site of tumor induction. For application of a TTC in the assessment of acceptable limits
of mutagenic impurities in drug substances and drug products, a value of 1.5 micrograms
(μg)/day corresponding to a theoretical 10-5 excess lifetime risk of cancer can be justified. Some
structural groups were identified to be of such high potency that intakes even below the TTC
would theoretically be associated with a potential for a significant carcinogenic risk. This group
of high potency mutagenic carcinogens, referred to as the cohort of concern, comprises
aflatoxin-like-, N-nitroso-, and alkyl-azoxy compounds.

During clinical development, it is expected that control strategies and approaches will be less
developed in earlier phases where overall development experience is limited. This guidance
bases acceptable intakes for mutagenic impurities on established risk assessment strategies.
Acceptable risk during the early development phase is set at a theoretically calculated level of
approximately one additional cancer per million. For later stages in development and for
marketed products, acceptable increased cancer risk is set at a theoretically calculated level of
approximately 1 in 100,000. These risk levels represent a small theoretical increase in risk when


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compared to human overall lifetime incidence of developing any type of cancer, which is greater
than 1 in 3. It is noted that established cancer risk assessments are based on lifetime exposures.
Less-Than-Lifetime (LTL) exposures both during development and marketing can have higher
acceptable intakes of impurities and still maintain comparable risk levels. The use of a
numerical cancer risk value (1 in 100,000) and its translation into risk-based doses (TTC) is a
highly hypothetical concept that should not be regarded as a realistic indication of the actual risk.
Nevertheless, the TTC concept provides an estimate of safe exposures for any mutagenic
compound. However, exceeding the TTC is not necessarily associated with an increased cancer
risk given the conservative assumptions employed in the derivation of the TTC value. The most
likely increase in cancer incidence is actually much less than 1 in 100,000. In addition, in cases
where a mutagenic compound is a non-carcinogen in a rodent bioassay, there would be no
predicted increase in cancer risk. Based on all the above considerations, any exposure to an
impurity that is later identified as a mutagen is not necessarily associated with an increased
cancer risk for patients already exposed to the impurity. A risk assessment would determine
whether any further actions would be taken.

Where a potential risk has been identified for an impurity, an appropriate control strategy
leveraging process understanding and/or analytical controls should be developed to ensure that
the mutagenic impurity is at or below the acceptable cancer risk level.

There may be cases when an impurity is also a metabolite of the drug substance. In such cases,
the risk assessment that addresses mutagenicity of the metabolite can qualify the impurity.


IV.    CONSIDERATIONS FOR MARKETED PRODUCTS (4)

This guidance is not intended to be applied retrospectively (i.e., to products marketed prior to
adoption of this guidance). However, some types of post-approval changes warrant a
reassessment of safety relative to mutagenic impurities. This section applies to these post-
approval changes for products marketed prior to, or after, the adoption of this guidance. Section
VIII.E (8.5) (Lifecycle Management) contains additional recommendations for products
marketed after adoption of this guidance.

       A.      Post-Approval Changes to the Drug Substance Chemistry, Manufacturing,
               and Controls (4.1)

Post-approval submissions involving the drug substance chemistry, manufacturing, and controls
should include an evaluation of the potential risk impact associated with mutagenic impurities
from changes to the route of synthesis, reagents, solvents, or process conditions after the starting
material. Specifically, changes should be evaluated to determine whether the changes result in
any new mutagenic impurities or higher acceptance criteria for existing mutagenic impurities.
Reevaluation of impurities not impacted by changes is not recommended. For example, when
only a portion of the manufacturing process is changed, the assessment of risk from mutagenic
impurities should be limited to whether any new mutagenic impurities result from the change,
whether any mutagenic impurities formed during the affected step are increased, and whether
any known mutagenic impurities from up-stream steps are increased. Regulatory submissions


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associated with such changes should describe the assessment as outlined in Section IX.B (9.2).
Changing the site of manufacture of drug substance, intermediates, or starting materials or
changing raw materials supplier will not require a reassessment of mutagenic impurity risk.

When a new drug substance supplier is proposed, evidence that the drug substance produced by
this supplier using the same route of synthesis as an existing drug product marketed in the
assessor’s region is considered to be sufficient evidence of acceptable risk/benefit regarding
mutagenic impurities and an assessment per this guidance is not required. If this is not the case,
then an assessment per this guidance is strongly recommended.

       B.      Post-Approval Changes to the Drug Product Chemistry, Manufacturing, and
               Controls (4.2)

Post-approval submissions involving the drug product (e.g., change in composition,
manufacturing process, dosage form) should include an evaluation of the potential risk
associated with any new mutagenic degradation products or higher acceptance criteria for
existing mutagenic degradation products. If appropriate, the regulatory submission should
include an updated control strategy. Reevaluation of the drug substance associated with drug
products is not recommended or expected provided there are no changes to the drug substance.
Changing the site of manufacture of drug product will not require a reassessment of mutagenic
impurity risk.

       C.      Changes to the Clinical Use of Marketed Products (4.3)

Changes to the clinical use of marketed products that can warrant a reevaluation of the
mutagenic impurity limits include a significant increase in clinical dose, an increase in duration
of use (in particular when a mutagenic impurity was controlled above the lifetime acceptable
intake for a previous indication that may no longer be appropriate for the longer treatment
duration associated with the new indication), or a change in indication from a serious or life-
threatening condition where higher acceptable intakes were justified (Section VII.E (7.5)) to an
indication for a less serious condition where the existing impurity acceptable intakes may no
longer be appropriate. Changes to the clinical use of marketed products associated with new
routes of administration or expansion into patient populations that include pregnant women
and/or pediatrics will not warrant a reevaluation, assuming no increases in daily dose or duration
of treatment.

       D.      Other Considerations for Marketed Products (4.4)

Application of this guidance to marketed products may be warranted if there is specific cause for
concern. The existence of impurity structural alerts alone is considered insufficient to trigger
follow-up measures, unless it is a structure in the cohort of concern (Section III (3)). However a
specific cause for concern would be new relevant impurity hazard data (classified as Class 1 or 2,
Section 6) generated after the overall control strategy and specifications for market authorization
were established. This new relevant impurity hazard data should be derived from high-quality
scientific studies consistent with relevant regulatory testing guidelines, with data records or
reports readily available. Similarly, a newly discovered impurity that is a known Class 1 or


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Class 2 mutagen that is present in a marketed product could also be a cause for concern. In both
cases when the applicant becomes aware of this new information, an evaluation per this guidance
should be conducted.


V.       DRUG SUBSTANCE AND DRUG PRODUCT IMPURITY ASSESSMENT (5)

Actual and potential impurities that are likely to arise during the synthesis and storage of a new
drug substance, and during manufacturing and storage of a new drug product, should be
assessed.

The impurity assessment is a two-stage process:

        Actual impurities that have been identified should be considered for their mutagenic
         potential.
        An assessment of potential impurities likely to be present in the final drug substance is
         carried out to determine whether further evaluation of their mutagenic potential is
         warranted.

The steps as applied to synthetic impurities and degradation products are described in Sections
V.A (5.1) and V.B (5.2), respectively.

         A.     Synthetic Impurities (5.1)

Actual impurities include those observed in the drug substance above the ICH Q3A reporting
thresholds. Identification of actual impurities is expected when the levels exceed the
identification thresholds outlined by ICH Q3A. It is acknowledged that some impurities below
the identification threshold may also have been identified.

Potential impurities in the drug substance can include starting materials, reagents, and
intermediates in the route of synthesis from the starting material to the drug substance.

The risk of carryover into the drug substance should be assessed for identified impurities that are
present in starting materials and intermediates, and impurities that are reasonably expected by-
products in the route of synthesis from the starting material to the drug substance. As the risk of
carryover may be negligible for some impurities (e.g., those impurities in early synthetic steps of
long routes of synthesis), a risk-based justification could be provided for the point in the
synthesis after which these types of impurities should be evaluated for mutagenic potential.

For starting materials that are introduced late in the synthesis of the drug substance (and where
the synthetic route of the starting material is known), the final steps of the starting material
synthesis should be evaluated for potential mutagenic impurities.

Actual impurities where the structures are known and potential impurities as defined above
should be evaluated for mutagenic potential as described in Section VI (6).



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       B.      Degradation Products (5.2)

Actual drug substance degradation products include those observed above the ICH Q3A
reporting threshold during storage of the drug substance in the proposed long-term storage
conditions and primary and secondary packaging. Actual degradation products in the drug
product include those observed above the ICH Q3B reporting threshold during storage of the
drug product in the proposed long-term storage conditions and primary and secondary
packaging, and also include those impurities that arise during the manufacture of the drug
product. Identification of actual degradation products is expected when the levels exceed the
identification thresholds outlined by ICH Q3A/Q3B. It is acknowledged that some degradation
products below the identification threshold may also have been identified.

Potential degradation products in the drug substance and drug product are those that may be
reasonably expected to form during long-term storage conditions. Potential degradation products
include those that form above the ICH Q3A/Q3B identification threshold during accelerated
stability studies (e.g., 40 C/75% relative humidity for 6 months) and confirmatory photostability
studies as described in ICH Q1B (Ref. 5), but are yet to be confirmed in the drug substance or
drug product under long-term storage conditions in the primary packaging.

Knowledge of relevant degradation pathways can be used to help guide decisions on the
selection of potential degradation products to be evaluated for mutagenicity, e.g., from
degradation chemistry principles, relevant stress testing studies, and development stability
studies.

Actual and potential degradation products likely to be present in the final drug substance or drug
product and where the structure is known should be evaluated for mutagenic potential as
described in Section VI (6).

       C.      Considerations for Clinical Development (5.3)

It is expected that the impurity assessment described in Sections V.A (5.1) and V.B (5.2) applies
to products in clinical development. However, it is acknowledged that the available information
is limited. For example, information from long-term stability studies and photostability studies
may not be available during clinical development and thus information on potential degradation
products may be limited. Additionally, the thresholds outlined in ICH Q3A/Q3B do not apply to
products in clinical development and, consequently, fewer impurities will be identified.


VI.    HAZARD ASSESSMENT ELEMENTS (6)

Hazard assessment involves an initial analysis of actual and potential impurities by conducting
database and literature searches for carcinogenicity and bacterial mutagenicity data in order to
classify them as Class 1, 2, or 5 according to Table 1. If data for such a classification are not
available, an assessment of Structure-Activity Relationships (SAR) that focuses on bacterial
mutagenicity predictions should be performed. This could lead to a classification into Class 3, 4,
or 5.


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Table 1: Impurities Classification With Respect to Mutagenic and Carcinogenic Potential
and Resulting Control Actions
 Class    Definition                                      Proposed action for control
                                                          (details in Section VII (7) and VIII
                                                          (8))
 1        Known mutagenic carcinogens                     Control at or below compound-
                                                          specific acceptable limit
 2        Known mutagens with                             Control at or below acceptable limits
          unknown carcinogenic potential                  (appropriate TTC)
          (bacterial mutagenicity positive,* no rodent
          carcinogenicity data)
 3        Alerting structure, unrelated to the            Control at or below acceptable limits
          structure of the drug substance;                (appropriate TTC) or conduct
          no mutagenicity data                            bacterial mutagenicity assay;
                                                          If non-mutagenic = Class 5
                                                          If mutagenic = Class 2
 4        Alerting structure, same alert in drug          Treat as non-mutagenic impurity
          substance or compounds related to the drug
          substance (e.g., process intermediates)
          which have been tested and are non-
          mutagenic
 5        No structural alerts, or alerting structure     Treat as non-mutagenic impurity
          with sufficient data to demonstrate lack of
          mutagenicity or carcinogenicity


*Or other relevant positive mutagenicity data indicative of DNA-reactivity-related induction of
gene mutations (e.g., positive findings in in vivo gene mutation studies)

A computational toxicology assessment should be performed using Quantitative Structure-
Activity Relationship ((Q)SAR) methodologies that predict the outcome of a bacterial
mutagenicity assay (Ref. 6). Two (Q)SAR prediction methodologies that complement each other
should be applied. One methodology should be expert rule-based, and the second methodology
should be statistical-based. (Q)SAR models utilizing these prediction methodologies should
follow the general validation principles set forth by the Organisation for Economic Co-operation
and Development (OECD).

The absence of structural alerts from two complementary (Q)SAR methodologies (expert rule-
based and statistical) is sufficient to conclude that the impurity is of no mutagenic concern, and
no further testing is recommended (Class 5 in Table 1).

If warranted, the outcome of any computer system-based analysis can be reviewed with the use
of expert knowledge in order to provide additional supportive evidence on relevance of any



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positive, negative, conflicting, or inconclusive prediction and to provide a rationale to support
the final conclusion.

To follow up on a relevant structural alert (Class 3 in Table 1), either adequate control measures
could be applied or a bacterial mutagenicity assay with the impurity alone can be conducted. An
appropriately conducted negative bacterial mutagenicity assay (Note 2) would overrule any
structure-based concern, and no further genotoxicity assessments would be recommended (Note
1). These impurities should be considered non-mutagenic (Class 5 in Table 1). A positive
bacterial mutagenicity result would warrant further hazard assessment and/or control measures
(Class 2 in Table 1). For instance, when levels of the impurity cannot be controlled at an
appropriate acceptable limit, it is recommended that the impurity be tested in an in vivo gene
mutation assay in order to understand the relevance of the bacterial mutagenicity assay result
under in vivo conditions. The selection of other in vivo genotoxicity assays should be
scientifically justified based on knowledge of the mechanism of action of the impurity and
expected target tissue exposure (Note 3). In vivo studies should be designed taking into
consideration existing ICH genotoxicity guidances. Results in the appropriate in vivo assay may
support setting compound specific impurity limits.

An impurity with a structural alert that is shared (e.g., same structural alert in the same position
and chemical environment) with the drug substance or related compounds can be considered as
non-mutagenic (Class 4 in Table 1) if the testing of such material in the bacterial mutagenicity
assay was negative.


VII.   RISK CHARACTERIZATION (7)

As a result of hazard assessment described in Section VI (6), each impurity will be assigned to
one of the five classes in Table 1. For impurities belonging in Classes 1, 2, and 3, the principles
of risk characterization used to derive acceptable intakes are described in this section.

       A.      TTC-Based Acceptable Intakes (7.1)

A TTC-based acceptable intake of a mutagenic impurity of 1.5 µg per person per day is
considered to be associated with a negligible risk (theoretical excess cancer risk of <1 in 100,000
over a lifetime of exposure) and can, in general, be used for most pharmaceuticals as a default to
derive an acceptable limit for control. This approach would usually be used for mutagenic
impurities present in pharmaceuticals for long-term treatment (> 10 years) and where no
carcinogenicity data are available (Classes 2 and 3).

       B.      Acceptable Intakes Based on Compound-Specific Risk Assessments (7.2)

       1.      Mutagenic Impurities With Positive Carcinogenicity Data (Class 1 in Table 1)
               (7.2.1)

Compound-specific risk assessments to derive acceptable intakes should be applied instead of the
TTC-based acceptable intakes where sufficient carcinogenicity data exist. For a known


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mutagenic carcinogen, a compound-specific acceptable intake can be calculated based on
carcinogenic potency and linear extrapolation as a default approach. Alternatively, other
established risk assessment practices such as those used by international regulatory bodies may
be applied either to calculate acceptable intakes or to use already existing values published by
regulatory authorities (Note 4).

Compound-specific calculations for acceptable intakes can be applied case-by-case for impurities
which are chemically similar to a known carcinogen compound class (class-specific acceptable
intakes) provided that a rationale for chemical similarity and supporting data can be
demonstrated (Note 5).

       2.      Mutagenic Impurities With Evidence for a Practical Threshold (7.2.2)

The existence of mechanisms leading to a dose response that is non-linear or has a practical
threshold is increasingly recognized, not only for compounds that interact with non-DNA targets
but also for DNA-reactive compounds, whose effects may be modulated by, for example, rapid
detoxification before coming into contact with DNA, or by effective repair of induced damage.
The regulatory approach to such compounds can be based on the identification of a No-Observed
Effect Level (NOEL) and use of uncertainty factors (see ICH Q3C(R5), Ref. 7) to calculate a
permissible daily exposure (PDE) when data are available.

The acceptable intakes derived from compound-specific risk assessments (Section VII.B (7.2))
can be adjusted for shorter duration of use in the same proportions as defined in the following
sections (Section VII.C.1 (7.3.1) and VII.C.2 (7.3.2)) or should be limited to not more than 0.5%,
whichever is lower. For example, if the compound-specific acceptable intake is 15 µg/day for
lifetime exposure, the less than lifetime limits (Table 2) can be increased to a daily intake of 100
µg (> 1-10 years treatment duration), 200 µg (> 1-12 months) or 1200 µg (< 1 month).
However, for a drug with a maximum daily dose of, for instance, 100 milligrams (mg), the
acceptable daily intake for the < 1-month duration, would be limited to 0.5% (500 µg) rather
than 1200 µg.

       C.      Acceptable Intakes in Relation to Less-Than-Lifetime (LTL) Exposure (7.3)

Standard risk assessments of known carcinogens assume that cancer risk increases as a function
of cumulative dose. Thus, cancer risk of a continuous low dose over a lifetime would be
equivalent to the cancer risk associated with an identical cumulative exposure averaged over a
shorter duration.

The TTC-based acceptable intake of 1.5 µg/day is considered to be protective for a lifetime of
daily exposure. To address LTL exposures to mutagenic impurities in pharmaceuticals, an
approach is applied in which the acceptable cumulative lifetime dose (1.5 µg/day x 25,550 days
= 38.3 mg) is uniformly distributed over the total number of exposure days during LTL
exposure. This would allow higher daily intake of mutagenic impurities than would be the case
for lifetime exposure and still maintain comparable risk levels for daily and non-daily treatment
regimens. Table 2 is derived from the above concepts and illustrates the acceptable intakes for
LTL to lifetime exposures for clinical development and marketing. In the case of intermittent


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dosing, the acceptable daily intake should be based on the total number of dosing days instead of
the time interval over which the doses were administered and that number of dosing days should
be related to the relevant duration category in Table 2. For example, a drug administered once
per week for 2 years (i.e., 104 dosing days) would have an acceptable intake per dose of 20 µg.



Table 2: Acceptable Intakes for an Individual Impurity
  Duration                                              >10
  of           <1           >1 - 12        >1 - 10      years to
  treatment    month        months         years        lifetime
  Daily
  intake       120          20             10           1.5
  [µg/day]

       1.      Clinical Development (7.3.1)

Using this LTL concept, acceptable intakes of mutagenic impurities are recommended for
limited treatment periods during clinical development of up to 1 month, 1 to 12 months and more
than 1 year up to completion of Phase 3 clinical trials (Table 2). These adjusted acceptable
intake values maintain a 10-6 risk level in early clinical development when benefit has not yet
been established and a 10-5 risk level for later stages in development (Note 6).

An alternative approach to the strict use of an adjusted acceptable intake for any mutagenic
impurity could be applied for Phase 1 clinical trials for dosing up to 14 days. For this approach,
only impurities that are known mutagenic carcinogens (Class 1) and known mutagens of
unknown carcinogenic potential (Class 2), as well as impurities in the cohort of concern
chemical class, should be controlled (see Section VIII (8)) to acceptable limits as described in
Section VII (7). All other impurities would be treated as non-mutagenic impurities. This
includes impurities which contain structural alerts (Class 3), which alone would not trigger
action for an assessment for this limited Phase 1 duration.

       2.      Marketed Products (7.3.2)

The treatment duration categories with acceptable intakes in Table 2 for marketed products are
intended to be applied to anticipated exposure durations for the great majority of patients. The
proposed intakes, along with various scenarios for applying those intakes, are described in Note
7, Table 4. In some cases, a subset of the population of patients may extend treatment beyond
the marketed drug’s categorical upper limit (e.g., treatment exceeding 10 years for an acceptable
intake of 10 µg/day, perhaps receiving 15 years of treatment). This would result in a negligible
increase (in the example given, a fractional increase to 1.5/100,000) compared to the overall
calculated risk for the majority of patients treated for 10 years.

       D.      Acceptable Intakes for Multiple Mutagenic Impurities (7.4)




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The TTC-based acceptable intakes should be applied to each individual impurity. When there
are two Class 2 or Class 3 impurities, individual limits apply. When there are three or more
Class 2 or Class 3 impurities specified on the drug substance specification, total mutagenic
impurities should be limited as described in Table 3 for clinical development and marketed
products.

For combination products, each active ingredient should be regulated separately.

Table 3: Acceptable Total Daily Intakes for Multiple Impurities

  Duration
  of           < 1 month      >1 - 12                         >10 years
                                            >1 - 10 years     to lifetime
  treatment                   months
  Total
  Daily        120            60            30                5
  intake
  [µg/day]

Only specified Class 2 and 3 impurities on the drug substance specification should be included in
the calculation of the total limit. However, impurities with compound-specific or class-related
acceptable intake limits (Class 1) should not be included in the total limits of Class 2 and Class 3
impurities. Also, degradation products that form in the drug product would be controlled
individually and a total limit would not be applied.

       E.      Exceptions and Flexibility in Approaches (7.5)

      Higher acceptable intakes may be justified when human exposure to the impurity will be
       much greater from other sources, e.g., food, or endogenous metabolism (e.g.,
       formaldehyde).
      Case-by-case exceptions to the use of the appropriate acceptable intake can be justified in
       cases of severe disease, reduced life expectancy, late onset but chronic disease, or limited
       therapeutic alternatives.
      Compounds from some structural classes of mutagens can display extremely high
       carcinogenic potency (cohort of concern), i.e., aflatoxin-like-, N-nitroso-, and alkyl-
       azoxy structures. If these compounds are found as impurities in pharmaceuticals,
       acceptable intakes for these high-potency carcinogens would likely be significantly lower
       than the acceptable intakes defined in this guidance. Although the principles of this
       guidance can be used, a case-by-case approach, using, e.g., carcinogenicity data from
       closely related structures, if available, should usually be developed to justify acceptable
       intakes for pharmaceutical development and marketed products.

The above risk approaches described in Section VII (7) are applicable to all routes of
administration, and no corrections to acceptable intakes are generally warranted. Exceptions to
consider may include situations where data justify route-specific concerns that should be



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evaluated case by case. These approaches are also applicable to all patient populations based
upon the conservative nature of the risk approaches being applied.


VIII. CONTROL (8)

A control strategy is a planned set of controls derived from current product and process
understanding that assures process performance and product quality (ICH Q10, Ref. 8). A
control strategy can include, but is not limited to, the following:

      Controls on material attributes (including raw materials, starting materials, intermediates,
       reagents, solvents, primary packaging materials);
      Facility and equipment operating conditions;
      Controls implicit in the design of the manufacturing process;
      In-process controls (including in-process tests and process parameters);
      Controls on drug substance and drug product (e.g., release testing).

When an impurity has been characterized as Class 1, 2, or 3 in Table 1, it is important to develop
a control strategy that assures that the level of this impurity in the drug substance and drug
product is below the acceptable limit. A thorough knowledge of the chemistry associated with
the drug substance manufacturing process, and of the drug product manufacturing process, along
with an understanding of the overall stability of the drug substance and drug product is
fundamental to developing the appropriate controls. Developing a strategy to control mutagenic
impurities in the drug product is consistent with risk management processes identified in ICH Q9
(Ref. 9). A control strategy that is based on product and process understanding and utilization of
risk management principles will lead to a combination of process design and control and
appropriate analytical testing, which can also provide an opportunity to shift controls upstream
and minimize the need for end-product testing.

       A.      Control of Process Related Impurities (8.1)

There are 4 potential approaches to development of a control strategy for drug substance:

Option 1

Include a test for the impurity in the drug substance specification with an acceptance criterion at
or below the acceptable limit using an appropriate analytical procedure.

For an Option 1 control approach, it is possible to apply periodic verification testing per ICH
Q6A (Ref 10). Periodic verification testing is justified when it can be shown that levels of the
mutagenic impurity in the drug substance are less than 30% of the acceptable limit for at least 6
consecutive pilot scale or 3 consecutive production scale batches. If this condition is not fulfilled,
a routine test in the drug substance specification is recommended. See Section VIII.C (8.3) for
additional considerations.



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Option 2

Include a test for the impurity in the specification for a raw material, starting material or
intermediate, or as an in-process control, with an acceptance criterion at or below the acceptable
limit using an appropriate analytical procedure.

Option 3

Include a test for the impurity in the specification for a raw material, starting material or
intermediate, or as an in-process control, with an acceptance criterion above the acceptable limit
of the impurity in the drug substance, using an appropriate analytical procedure coupled with
demonstrated understanding of fate and purge and associated process controls that assure the
level in the drug substance is below the acceptable limit without the need for any additional
testing later in the process.

This option can be justified when the level of the impurity in the drug substance will be less than
30% of the acceptable limit by review of data from laboratory scale experiments (spiking
experiments are encouraged) and, where warranted, is supported by data from pilot scale or
commercial scale batches. See Appendix 2, Case Examples 1 and 2. Alternative approaches can
be used to justify Option 3.

Option 4

Understand process parameters and impact on residual impurity levels (including fate and purge
knowledge) with sufficient confidence that the level of the impurity in the drug substance will be
below the acceptable limit such that no analytical testing is recommended for this impurity (i.e.,
the impurity does not need to be listed on any specification).

A control strategy that relies on process controls in lieu of analytical testing can be appropriate if
the process chemistry and process parameters that have an impact on the levels of mutagenic
impurities are understood and the risk of an impurity residing in the final drug substance above
the acceptable limit is determined to be negligible. In many cases, justification of this control
approach based on scientific principles alone is sufficient. Elements of a scientific risk
assessment can be used to justify an option 4 approach. The risk assessment can be based on
physicochemical properties and process factors that influence the fate and purge of an impurity,
including chemical reactivity, solubility, volatility, ionizability, and any physical process steps
designed to remove impurities. The result of this risk assessment might be shown as an
estimated purge factor for clearance of the impurity by the process (Ref. 11).

Option 4 is especially useful for those impurities that are inherently unstable (e.g., thionyl
chloride that reacts rapidly and completely with water) or for those impurities that are introduced
early in the synthesis and are effectively purged.

In some cases an Option 4 approach can be appropriate when the impurity is known to form, or
is introduced late in the synthesis; however, process-specific data should then be provided to
justify this approach.


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       B.      Considerations for Control Approaches (8.2)

For Option 4 approaches where justification based on scientific principles alone is not considered
sufficient, as well as for Option 3 approaches, analytical data to support the control approach is
strongly recommended. This could include, as appropriate, information on the structural changes
to the impurity caused by downstream chemistry (fate); analytical data on pilot scale batches;
and, in some cases, laboratory scale studies with intentional addition of the impurity (spiking
studies). In these cases, it is important to demonstrate that the fate/purge argument for the
impurity is robust and will consistently assure a negligible probability of an impurity residing in
the final drug substance above the acceptable limit. Where the purge factor is based on
developmental data, it is important to address the expected scale-dependence or independence.
In the case that the small scale model used in the development stage is considered to not
represent the commercial scale, confirmation of suitable control in pilot scale and/or initial
commercial batches is generally appropriate. The need for data from pilot/commercial batches is
influenced by the magnitude of the purge factor calculated from laboratory or pilot scale data,
point of entry of the impurity, and knowledge of downstream process purge points.

If Options 3 and 4 cannot be justified, then a test for the impurity on the specification for a raw
material, starting material or intermediate, or as an in-process control (Option 2) or drug
substance (Option 1) at the acceptable limit should be included. For impurities introduced in the
last synthetic step, an Option 1 control approach would normally be expected unless otherwise
justified.

The application of As Low As Reasonably Practicable (ALARP) is not necessary if the level of
the mutagenic impurity is below acceptable limits. Similarly, it is not necessary to demonstrate
that alternate routes of synthesis have been explored.

In cases where control efforts cannot reduce the level of the mutagenic impurity to below the
acceptable limit and levels are as low as reasonably practical, a higher limit may be justified
based on a risk/benefit analysis.

       C.      Considerations for Periodic Testing (8.3)

The above options include situations where a test is recommended to be included in the
specification, but where routine measurement for release of every batch may not be necessary.
This approach, referred to as periodic or skip testing in ICH Q6A could also be called Periodic
Verification Testing. This approach may be appropriate when it can be demonstrated that
processing subsequent to impurity formation/introduction clears the impurity. It should be noted
that allowance of Periodic Verification Testing is contingent upon use of a process that is under a
state of control (i.e., produces a quality product that consistently meets specifications and
conforms to an appropriately established facility, equipment, processing, and operational control
regimen). If upon testing, the level of the mutagenic impurity fails to meet the acceptance
criteria established for the periodic test, the drug producer should immediately commence full
testing (i.e., testing of every batch for the attribute specified) until the cause of the failure has
been conclusively determined, corrective action has been implemented, and the process is again


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documented to be in a state of control. As noted in ICH Q6A, regulatory authorities should be
notified of a periodic verification test failure to evaluate the risk/benefit of previously released
batches that were not tested.

       D.      Control of Degradation Products (8.4)

For a potential degradation product that has been characterized as mutagenic, it is important to
understand if the degradation pathway is relevant to the drug substance and drug product
manufacturing processes and/or their proposed packaging and storage conditions. A well-
designed accelerated stability study (e.g., 40 C/75% relative humidity, 6 months) using the
proposed packaging, with appropriate analytical procedures, is recommended to determine the
relevance of the potential degradation product. Alternatively, well-designed kinetically
equivalent shorter-term stability studies at higher temperatures using the proposed commercial
packaging may be used to determine the relevance of the degradation pathway prior to initiating
longer-term stability studies. This type of study would be especially useful to understand the
relevance of those potential degradation products that are based on knowledge of potential
degradation pathways but not yet observed in the product.

Based on the result of these accelerated studies, if it is anticipated that the degradation product
will form at levels approaching the acceptable limit under the proposed packaging and storage
conditions, then efforts to control formation of the degradation product is recommended. In
these cases, monitoring for the drug substance or drug product degradation in long-term primary
stability studies at the proposed storage conditions (in the proposed commercial pack) is
expected unless otherwise justified. Whether a specification limit for the mutagenic degradation
product is appropriate will generally depend on the results from these stability studies.

If it is anticipated that formulation development and packaging design options are unable to
control mutagenic degradation product levels to less than the acceptable limit and levels are as
low as reasonably practicable, a higher limit can be justified based on a risk/benefit analysis.

       E.      Lifecycle Management (8.5)

This section is intended to apply to those products approved after the issuance of this guidance.

The quality system elements and management responsibilities described in ICH Q10 are intended
to encourage the use of science-based and risk-based approaches at each lifecycle stage, thereby
promoting continual improvement across the entire product lifecycle. Product and process
knowledge should be managed from development through the commercial life of the product up
to and including product discontinuation.

The development and improvement of a drug substance or drug product manufacturing process
usually continues over its lifecycle. Manufacturing process performance, including the
effectiveness of the control strategy, should be periodically evaluated. Knowledge gained from
commercial manufacturing can be used to further improve process understanding and process
performance and to adjust the control strategy.



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Any proposed change to the manufacturing process should be evaluated for the impact on the
quality of drug substance and drug product. This evaluation should be based on understanding of
the manufacturing process and should determine whether appropriate testing to analyze the
impact of the proposed changes is warranted. Additionally, improvements in analytical
procedures may lead to structural identification of an impurity. In those cases, the new structure
would be assessed for mutagenicity as described in this guidance.

Throughout the lifecycle of the product, it will be important to reassess if testing is
recommended when intended or unintended changes occur in the process. This applies when
there is no routine monitoring at the acceptable limit (Option 3 or Option 4 control approaches),
or when applying periodic rather than batch-by-batch testing. This testing should be performed
at an appropriate point in the manufacturing process.

In some cases, the use of statistical process control and trending of process measurements can be
useful for continued suitability and capability of processes to provide adequate control on the
impurity. Statistical process control can be based on process parameters that influence impurity
formation or clearance, even when that impurity is not routinely monitored (e.g., Option 4).

All changes should be subject to internal change management processes as part of the quality
system (ICH Q10). Changes to information filed and approved in a dossier should be reported to
regulatory authorities in accordance with regional regulations and guidelines.

          F.     Considerations for Clinical Development (8.6)

It is recognized that product and process knowledge increases over the course of development
and therefore it is expected that data to support control strategies in the clinical development trial
phases will be less than at the marketing registration phase. A risk-based approach based on
process chemistry fundamentals is encouraged to prioritize analytical efforts on those impurities
with the highest likelihood of being present in the drug substance or drug product. Analytical
data may not be expected to support early clinical development when the likelihood of an
impurity being present is low, but in a similar situation analytical data may be appropriate to
support the control approach for the marketing application. It is also recognized that commercial
formulation design occurs later in clinical development and therefore efforts associated with drug
product degradation products will be limited in the earlier phases.


IX.       DOCUMENTATION (9)

Information relevant to the application of this guidance should be provided at the following
stages:

          A.     Clinical Trial Applications (9.1)

         It is expected that the number of structures assessed for mutagenicity and the collection
          of analytical data will both increase throughout the clinical development period.



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      For Phase 1 studies of 14 days or less, a description of efforts to mitigate risks of
       mutagenic impurities focused on Class 1 and Class 2 impurities and those in the cohort of
       concern as outlined in Section VII (7) should be included. For Phase 1 clinical trials of
       more than 14 days and for Phase 2a clinical trials as well, Class 3 impurities that have
       analytical controls should also be included.
      For Phase 2b and Phase 3 clinical development trials, a list of the impurities assessed by
       (Q)SAR should be included, and any Class 1, 2, or 3 actual and potential impurities
       should be described along with plans for control. The in silico (Q)SAR systems used to
       perform the assessments should be described. The results of bacterial mutagenicity tests
       of actual impurities should be reported.
      Chemistry arguments may be appropriate instead of analytical data for potential
       impurities that present a low likelihood of being present as described in Section VIII.F
       (8.6).

       B.     Common Technical Document (Marketing Application) (9.2)

      For actual and potential process related impurities and degradation products where
       assessments according to this guidance are conducted, the mutagenic impurity
       classification and rationale for this classification should be provided:
       o This would include the results and description of in silico (Q)SAR systems used and,
         as appropriate, supporting information to arrive at the overall conclusion for Class 4
         and 5 impurities.
       o When bacterial mutagenicity assays were performed on impurities, study reports
         should be provided for bacterial mutagenicity assays on impurities.
      Justification for the proposed specification and the approach to control should be
       provided (e.g., ICH Q11 example 5b, Ref. 12). For example, this information could
       include the acceptable intake, the location, and sensitivity of relevant routine monitoring.
       For Option 3 and Option 4 control approaches, a summary of knowledge of the purge
       factor, and identification of factors providing control (e.g., process steps, solubility in
       wash solutions), is important.




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                                             NOTES

Note 1   The ICH M7 Guidance recommendations provide a state-of-the-art approach for
         assessing the potential of impurities to induce point mutations and ensure that such
         impurities are controlled to safe levels so that below or above the ICH Q3A/Q3B
         qualification threshold, no further qualification for mutagenic potential is required. This
         includes the initial use of (Q)SAR tools to predict bacterial mutagenicity. In cases
         where the amount of the impurity exceeds 1 mg daily dose for chronic administration,
         evaluation of genotoxic potential as recommended in ICH Q3A/Q3B could be
         considered. In cases where the amount of the impurity is less than 1 mg, no further
         genotoxicity testing is required regardless of other qualification thresholds.

Note 2   To assess the mutagenic potential of impurities, a single bacterial mutagenicity assay
         can be carried out with a fully adequate protocol according to ICH S2(R1) and OECD
         471 guidelines (Refs. 13 and 14). The assays should be performed in compliance with
         Good Laboratory Practices (GLP) regulations; however, lack of full GLP compliance
         does not necessarily mean that the data cannot be used to support clinical trials and
         marketing authorizations. Such deviations should be described in the study report. For
         example, the test article may not be prepared or analyzed in compliance with GLP
         regulations. In some cases, the selection of bacterial tester strains may be limited to
         those proven to be sensitive to the identified alert. For impurities that are not feasible
         to isolate or synthesize or when compound quantity is limited, it may not be possible to
         achieve the highest test concentrations recommended for an ICH-compliant bacterial
         mutagenicity assay according to the current testing guidelines. In this case, bacterial
         mutagenicity testing could be carried out using a miniaturized assay format with proven
         high concordance to the ICH-compliant assay to enable testing at higher concentrations
         with justification.

Note 3   Tests to Investigate the in vivo Relevance of in vitro Mutagens (Positive Bacterial
         Mutagenicity)

                                     Factors to justify choice of test
   In vivo test
                                     as fit-for-purpose
   Transgenic mutation assays         For any bacterial mutagenicity positive. Justify
                                         selection of assay tissue/organ
   Pig-a assay                        For directly acting mutagens (bacterial mutagenicity
   (blood)                               positive without S9)*
   Micronucleus test                  For directly acting mutagens (bacterial mutagenicity
   (blood or bone marrow)                positive without S9) and compounds known to be
                                         clastogenic*
   Rat liver Unscheduled DNA          In particular for bacterial mutagenicity positive with S9
   Synthesis (UDS) test                  only
                                      Responsible liver metabolite known
                                                 o to be generated in test species used
                                                 o to induce bulky adducts



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   Comet assay                         Justification should be provided (chemical class specific
                                        mode of action to form alkaline labile sites or single-
                                        strand breaks as preceding DNA damage that can
                                        potentially lead to mutations
                                     Justify selection of assay tissue/organ
   Others                            With convincing justification
 *For indirect acting mutagens (requiring metabolic activation), adequate exposure to
 metabolite(s) should be demonstrated.

Note 4   Example of linear extrapolation from the TD50

         It is possible to calculate a compound-specific acceptable intake based on rodent
         carcinogenicity potency data such as TD50 values (doses giving a 50% tumor incidence
         equivalent to a cancer risk probability level of 1:2). Linear extrapolation to a
         probability of 1 in 100,000 (i.e., the accepted lifetime risk level used) is achieved by
         simply dividing the TD50 by 50,000. This procedure is similar to that employed for
         derivation of the TTC.

         Calculation example: Ethylene oxide

         TD50 values for ethylene oxide according to the Carcinogenic Potency Database are
         21.3 mg/kg body weight/day (rat) and 63.7 mg/kg body weight/day (mouse). For the
         calculation of an acceptable intake, the lower (i.e., more conservative) value of the rat
         is used.

         To derive a dose to cause tumors in 1 in 100,000 animals, divide by 50,000:

         21.3 mg/kilograms (kg)  50,000 = 0.42 µg/kg

         To derive a total human daily dose:

         0.42 µg/kg/day x 50 kg body weight = 21.3 µg/person/day

         Hence, a daily life-long intake of 21.3 µg ethylene oxide would correspond to a
         theoretical cancer risk of 10-5 and therefore be an acceptable intake when present as an
         impurity in a drug substance.

         Alternative methods and published regulatory limits for cancer risk assessment

         As an alternative of using the most conservative TD50 value from rodent
         carcinogenicity studies irrespective of its relevance to humans, an in-depth
         toxicological expert assessment of the available carcinogenicity data can be done in
         order to initially identify the findings (e.g., species, organ) with highest relevance to
         human risk assessment as a basis for deriving a reference point for linear extrapolation.
         Also, in order to better take into account directly the shape of the dose-response curve,
         a benchmark dose such as a benchmark dose lower confidence limit 10% (BMDL10, an


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         estimate of the lowest dose which is 95% certain to cause no more than a 10% cancer
         incidence in rodents) may be used instead of TD50 values as a numerical index for
         carcinogenic potency. Linear extrapolation to a probability of 1 in 100,000 (i.e., the
         accepted lifetime risk level used) is then achieved by simply dividing the BMDL10 by
         10,000.

         Compound-specific acceptable intakes can also be derived from published
         recommended values from internationally recognized bodies such as World Health
         Organization (WHO, International Program on Chemical Safety [IPCS] Cancer Risk
         Assessment Programme) and others using the appropriate 10-5 lifetime risk level. In
         general, a regulatory limit that is applied should be based on the most current and
         scientifically supported data and/or methodology.

Note 5   A compound-specific calculation of acceptable intakes for mutagenic impurities may be
         applied for mutagenic impurities (without carcinogenicity data) which are structurally
         similar to a chemically defined class of known carcinogen. For example, factors that
         are associated with the carcinogenic potency of monofunctional alkyl chlorides have
         been identified (Ref. 15) and can be used to modify the safe acceptable intake of
         monofunctional alkyl chlorides, a group of alkyl chlorides commonly used in drug
         synthesis. Compared to multifunctional alkyl chlorides, the monofunctional
         compounds are much less potent carcinogens with TD50 values ranging from 36 to 1810
         mg/kg/day (n=15; epichlorohydrin with two distinctly different functional groups is
         excluded). A TD50 value of 36 mg/kg/day can thus be used as a still very conservative
         class-specific potency reference point for calculation of acceptable intakes for
         monofunctional alkyl chlorides. This potency level is at least 10-fold lower than the
         TD50 of 1.25 mg/kg/day corresponding to the default lifetime TTC (1.5 µg/day) and
         therefore justifies lifetime and less-than-lifetime daily intakes for monofunctional alkyl
         chlorides 10 times the default ones.

Note 6   Establishing less-than-lifetime acceptable intakes for mutagenic impurities in
         pharmaceuticals has precedence in the establishment of the staged TTC limits for
         clinical development (Ref. 16). The calculation of less-than-lifetime Acceptable Intakes
         (AI) is predicated on the principle of Haber’s rule, a fundamental concept in toxicology
         where concentration (C) x time (T) = a constant (k). Therefore, the carcinogenic effect
         is based on both dose and duration of exposure.




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         The proposed accepted daily intakes are also in compliance with a 10-6 cancer risk level
         if treatment durations are not longer than 6 months and are therefore applicable in early
         clinical trials with volunteers/patients where benefit has not yet been established. In
         this case, the safety factors as shown in the upper graph would be reduced by a factor of
         10.
Note 7
Table 4: Examples of clinical use scenarios with different treatment durations for applying
acceptable intakes
  Scenario1                                                                  Acceptable Intake
                                                                             (µg/day)
  Treatment duration of < 1 month: e.g., drugs used in emergency             120
  procedures (antidotes, anesthesia, acute ischemic stroke), actinic
  keratosis, treatment of lice
  Treatment duration of > 1-12 months: e.g., anti-infective therapy          20
  with maximum up to 12 months treatment (Hepatitis C Virus),
  parenteral nutrients, prophylactic flu drugs (~ 5 months), peptic ulcer,
  Assisted Reproductive Technology (ART), pre-term labor,
  preeclampsia, pre-surgical (hysterectomy) treatment, fracture healing
  (these are acute use but with long half-lives)
  Treatment duration of >1-10 years: e.g., stage of disease with short       10
  life expectancy (severe Alzheimer’s), non-genotoxic anticancer
  treatment being used in a patient population with longer-term survival
  (breast cancer, Chronic Myelogenous Leukemia), drugs specifically
  labeled for less than 10 years of use, drugs administered intermittently
  to treat acute recurring symptoms2 (chronic Herpes, gout attacks,
  substance dependence such as smoking cessation), macular
  degeneration, Human Immunodeficiency Virus (HIV)3
  Treatment duration of >10 years to lifetime: e.g., chronic use             1.5
  indications with high likelihood for lifetime use across broader age
  range (hypertension, dyslipidemia, asthma, Alzheimer’s Disease (AD)
  (except severe AD), hormone therapy (e.g., Growth Hormone, Thyroid
  Hormone, Para Thyroid Hormone), lipodystrophy, schizophrenia,
  depression, psoriasis, atopic dermatitis, Chronic Obstructive Pulmonary
  Disease (COPD), cystic fibrosis, seasonal and perennial allergic rhinitis
1
  This table shows general examples; each example should be examined on a case-by-case basis.
For example, 10 µg/day may be acceptable in cases where the life expectancy of the patient may
be limited, e.g., severe Alzheimer’s disease, even though the drug use could exceed 10-year
duration.
2
  Intermittent use over a period >10 yrs., but based on calculated cumulative dose, it falls under
the >1-10 yr. category.
3
  HIV is considered a chronic indication, but resistance develops to the drugs after 5-10 years
and the therapy is changed to other HIV drugs.




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                                         APPENDICES

APPENDIX 1: SCOPE SCENARIOS FOR APPLICATION OF THE ICH M7
            GUIDANCE

                                Applies to   Applies Comments
 Scenario                       Drug         to Drug
                                Substance    Product
 Registration of new drug       Yes          Yes     Primary intent of the M7 Guidance
 substances and associated
 drug product
 Clinical trial applications    Yes          Yes        Primary intent of the M7 Guidance
 for new drug substances
 and associated drug
 product
 Clinical trial applications    No           No         Out of scope of M7 Guidance
 for new drug substances
 for an anti-cancer drug
 per ICH S9
 Clinical trial applications    Yes          Yes        There may be exceptions on a case-
 for new drug substances                                by-case basis for higher impurity
 for an orphan drug                                     limits
 Clinical trial application     No           Yes        Retrospective application of the M7
 for a new drug product                                 Guidance is not intended for
 using an existing drug                                 marketed products unless there are
 substance where there are                              changes made to the synthesis. Since
 no changes to the drug                                 no changes are made to the drug
 substance manufacturing                                substance synthesis, the drug
 process                                                substance would not require
                                                        reevaluation. Since the drug product
                                                        is new, application of this guidance is
                                                        expected.
 A new formulation of an       No            Yes        See Section IV.B (4.2)
 approved drug substance
 is filed
 A product that is             Yes           Yes        As there is no mutual recognition, an
 previously approved in a                               existing product in one member
 member region is filed for                             region filed for the first time in
 the first time in a different                          another member region would be
 member region. The                                     considered a new product.
 product is unchanged.
 A new supplier or new         No            No         As long as the synthesis of the drug
 site of the drug substance                             substance is consistent with
 is registered. There are no                            previously approved methods, then
 changes to the                                         reevaluation of mutagenic impurity


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 manufacturing process                                 risk is not necessary. The applicant
 used in this registered                               would need to demonstrate that no
 application.                                          changes have been made to a
                                                       previously approved process/product.
                                                       Refer to Section IV.A (4.1).
 An existing product           Yes          Yes        Since the patient population and
 (approved after the                                   acceptable cancer risk have changed,
 issuance of ICH M7 with                               the previously approved impurity
 higher limits based on                                control strategy and limits will
 ICH S9) associated with                               require reevaluation. See Section
 an advanced cancer                                    IV.C (4.3).
 indication is now
 registered for use in a
 non-life threatening
 indication
 New combination product       Yes (new     Yes        M7 would apply to the new drug
 is filed that contains one    drug                    substance. For the existing drug
 new drug substance and        substance)              substance, retrospective application
 an existing drug substance    No                      of M7 to existing products is not
                               (existing               intended. For the drug product, this
                               drug                    would classify as a new drug product
                               substance)              so the guidance would apply to any
                                                       new or higher levels of degradation
                                                       products.

APPENDIX 2: CASE EXAMPLES TO ILLUSTRATE POTENTIAL CONTROL
            APPROACHES

Case 1: Example of an Option 3 Control Strategy

An intermediate X is formed two steps away from the drug substance and impurity A is routinely
detected in intermediate X. The impurity A is a stable compound and carries over to the drug
substance. A spike study of the impurity A at different concentration levels in intermediate X
was performed at laboratory scale. As a result of these studies, impurity A was consistently
removed to less than 30% of the TTC-based limit in the drug substance even when impurity A
was present at 1% in intermediate X. Since this intermediate X is formed only two steps away
from the drug substance and the impurity A level in the intermediate X is relatively high, the
purging ability of the process has also been confirmed by determination of impurity A in the
drug substance in multiple pilot-scale batches and results were below 30% of the TTC-based
limit. Therefore, control of the impurity A in the intermediate X with an acceptance limit of
1.0% is justified and no test is warranted for this impurity in the drug substance specification.

Case 2: Example of an Option 3 Control Strategy: Based on Predicted Purge from a
Spiking Study Using Standard Analytical Methods




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A starting material Y is introduced in step 3 of a 5-step synthesis, and an impurity B is routinely
detected in the starting material Y at less than 0.1% using standard analytical methods. In order
to determine whether the 0.1% specification in the starting material is acceptable, a purge study
was conducted at laboratory scale where impurity B was spiked into starting material Y with
different concentration levels up to 10% and a purge factor of > 500 fold was determined across
the final three processing steps. This purge factor applied to a 0.1% specification in starting
material Y would result in a predicted level of impurity B in the drug substance of less than 2
parts per million (ppm). As this is below the TTC-based limit of 50 ppm for this impurity in the
drug substance, the 0.1% specification of impurity B in starting material Y is justified without
the need for providing drug substance batch data on pilot scale or commercial scale batches.

Case 3: Example of an Option 2 and 4 Control Strategy: Control of Structurally Similar
Mutagenic Impurities

The Step 1 intermediate of a 5-step synthesis is a nitroaromatic compound that may contain low
levels of impurity C, a positional isomer of the step 1 intermediate and also a nitroaromatic
compound. The amount of impurity C in the step 1 intermediate has not been detected by
ordinary analytical methods, but it may be present at lower levels. The step 1 intermediate is
positive in the bacterial mutagenicity assay. The step 2 hydrogenation reaction results in a 99%
conversion of the step 1 intermediate to the corresponding aromatic amine. This is confirmed via
in-process testing. An assessment of purge of the remaining step 1 nitroaromatic intermediate
was conducted, and a high purge factor was predicted based on purge points in the subsequent
step 3 and 4 processing steps. Purge across the step 5 processing step is not expected and a
specification for the step 1 intermediate at the TTC-based limit was established at the step 4
intermediate (Option 2 control approach). The positional isomer impurity C would be expected
to purge via the same purge points as the step 1 intermediate and therefore will always be much
lower than the step 1 intermediate itself; therefore, no testing is required and an Option 4 control
strategy for impurity C can be supported without the need for any additional laboratory or pilot
scale data.

Case 4: Example of an Option 4 Control Strategy: Highly Reactive Impurity

Thionyl chloride is a highly reactive compound that is mutagenic. This reagent is introduced in
step 1 of a 5-step synthesis. At multiple points in the synthesis, significant amounts of water are
used. Since thionyl chloride reacts instantaneously with water, there is no chance of any residual
thionyl chloride to be present in the drug substance. An Option 4 control approach is suitable
without the need for any laboratory or pilot scale data.

Implementation of Guidance:

Implementation of M7 is encouraged after publication; however, because of the complexity of
the guidance, application of M7 is not expected prior to 18 months after ICH publication.
The following exceptions to the 18-month timeline apply.

   1. Ames tests should be conducted according to M7 upon ICH publication. However, Ames
      tests conducted prior to publication of M7 need not be repeated.


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   2. When development programs have started Phase 2b and Phase 3 clinical trials prior to
      publication of M7, these programs can be completed up to and including marketing
      application submission and approval, with the following exceptions to M7:
      o No need for two (Q)SAR assessments as outlined in Section VI (6).
      o No need to comply with the scope of product impurity assessment as outlined in
         Section V (5).
      o No need to comply with the documentation recommendations as outlined in Section
         IX (9).

Given the similar challenges for development of a commercial manufacturing process,
application of the aspects of M7 listed above to new marketing applications that do not include
Phase 2b and Phase 3 clinical trials would not be expected until 36 months after ICH publication
of M7.




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APPENDIX 3: ADDENDUM TO ICH M7

LIST OF ABBREVIATIONS

AI         Acceptable Intakes
ATSDR      Agency for Toxic Substances & Disease Registry
BC         Benzyl Chloride
BCME       Bis(chloromethyl)ether
BUA        Biodegradable in water Under Aerobic conditions
CAC        Cancer Assessment Committee
CCRIS      Chemical Carcinogenesis Research Information System
CHL        Chinese Hamster Lung fibroblast cell line
CICAD      Concise International Chemical Assessment Document
CIIT       Chemical Industry Institute of Toxicology
CNS        Central Nervous System
CPDB       Carcinogenicity Potency Database
CYP        Cytochrome P-450
DMCC       Dimethylcarbamyl Chloride
DMS        Dimethyl Sulfate
DNA        Deoxyribose Nucleic Acid
EC         European Commission
ECHA       European Chemical Agency
EFSA       European Food Safety Authority
EMA        European Medicines Agency
EPA        Environmental Protection Agency
EU         European Union
FDA        Food and Drug Administration
GRAS       Generally Recognized As Safe
HSDB       Hazardous Substance Database
IARC       International Agency for Research on Cancer
IPCS       International Programme on Chemical Safety
IRIS       Integrated Risk Information System
JETOC      Japan Chemical Industry Ecology-Toxicology & Information Center
JRC        Joint Research Centre


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LOAEL       Lowest Observed Adverse Effect Level
MTD         Maximum Tolerated Dose
NA          Not applicable
NC          Not calculated; individual tumour type incidences not provided in WHO, 2002
NCI         National Cancer Institute
NOAEL       No Observed Adverse Effect Level
NOEL        No Observed Effect Level
NSRL        No Significant Risk Level
NTP         National Toxicology Program
OECD        Organisation for Economic Cooperation and Development
PCE         Polychromatic Erythrocytes
PDE         Permissible Daily Exposure
RfC         Reference Concentration
ROS         Reactive Oxygen Species
SCCP        Scientific Committee on Consumer Products
SCCS        Scientific Committee on Consumer Safety
SCE         Sister Chromatid Exchanges
SIDS        Screening Information Dataset
TBA         Tumor Bearing Animal
TD50        Chronic dose-rate in mg/kg body weight/day which would cause tumors in half of
            the animals at the end of a standard lifespan for the species taking into account the
            frequency of that tumor type in control animals
TTC-based   Threshold of Toxicological Concern-based
UDS         Unscheduled DNA Synthesis
UNEP        United Nations Environmental Programme
US EPA      United States Environmental Protection Agency
WHO         World Health Organization




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         Application of the Principles of the ICH M7 Guidance to Calculation of Compound-
         Specific Acceptable Intakes

Introduction

ICH M7 discusses the derivation of acceptable intakes (AIs) for mutagenic impurities with
positive carcinogenicity data, (Section VII.B.1 (7.2.1)) and states:

         Compound-specific risk assessments to derive acceptable intakes should be applied instead
         of the [Threshold of Toxicological Concern-based] TTC-based acceptable intakes where
         sufficient carcinogenicity data exist. For a known mutagenic carcinogen, a compound-
         specific acceptable intake can be calculated based on carcinogenic potency and linear
         extrapolation as a default approach. Alternatively, other established risk assessment
         practices such as those used by international regulatory bodies may be applied either to
         calculate acceptable intakes or to use already existing values published by regulatory
         authorities . . . .

In this Addendum to ICH M7, AIs or Permissible Daily Exposures (PDEs) have been derived for
a set of chemicals that are considered to be mutagens and carcinogens and are common in
pharmaceutical manufacturing, or are useful to illustrate the principles for deriving compound-
specific intakes described in ICH M7.4 The set of chemicals include compounds in which the
primary method used to derive AIs for carcinogens with a likely mutagenic mode of action is the
“default approach” from ICH M7 of linear extrapolation from the calculated cancer potency
estimate, the TD50. Some chemicals that are mutagens and carcinogens (classified as Class 1 in
ICH M7) may induce tumors through a non-mutagenic mode of action. Therefore, additional
compounds are included to highlight alternative principles to deriving compound-specific intakes
(i.e., PDE, see below). Other compounds (e.g., aniline) are included even though the available
data indicates that they are non-mutagenic; nevertheless, the historical perception has been that
they are genotoxic carcinogens.

ICH M7 states in Section VII.B.2 (7.2.2):

         The existence of mechanisms leading to a dose response that is non-linear or has a
         practical threshold is increasingly recognized, not only for compounds that interact with
         non-DNA (Deoxyribose Nucleic Acid) targets but also for DNA-reactive compounds,
         whose effects may be modulated by, for example, rapid detoxification before coming into
         contact with DNA, or by effective repair of induced damage. The regulatory approach to
         such compounds can be based on the identification of a No-Observed Effect Level
         (NOEL) and use of uncertainty factors (see [ICH guidance for industry Q3C(R5)
         Impurities: Guideline for Residual Solvents (ICH Q3C(R5))], Ref. 7)5 to calculate a PDE
         when data are available.


4
  Some chemicals are included whose properties (including chemical reactivity, solubility, volatility, ionizability)
allow efficient removal during the steps of most synthetic pathways, so that a specification based on an acceptable
intake will not typically be needed.
5
 See Q3C(R5) Impurities: Guideline for Residual Solvents at
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/default htm.


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Examples are included in this Addendum to illustrate assessments of mode of action for some
Class 1 chemicals that justify derivation of a PDE calculated using uncertainty factors as
described in ICH Q3C(R5). These chemicals include hydrogen peroxide, which induces
oxidative stress, and aniline which induces tumors secondary to hemosiderosis as a consequence
of methemoglobinemia.

It is emphasized that the AI or PDE values presented in this Addendum address carcinogenic
risk. Other considerations, such as quality standards, may affect final product specifications.
For example, the ICH M7 guidance (Section VII.B.2 (7.2.2)) notes that when calculating
acceptable intakes from compound-specific risk assessments, an upper limit would be 0.5%, or,
for example, 500 micrograms (µg) in a drug with a maximum daily dose of 100 mg.

Methods

The general approach used in this addendum for deriving AIs included a literature review,
selection of cancer potency estimate [TD50, taken from the Carcinogenicity Potency Database
(CPDB) (Ref. 2), or calculated from published studies using the same method as in the CPDB]
and ultimately calculation of an appropriate AI or PDE in cases with sufficient evidence for a
threshold mode of action (see ICH M7, Section III (3)).6 The literature review focused on data
relating to exposure of the general population (i.e., food, water, and air),
mutagenicity/genotoxicity, and carcinogenicity. Based on the description of DNA-reactive
mutagens in ICH M7, results from the standard bacterial reverse mutation assay (Ames test)
were used as the main criterion for determining that a chemical was mutagenic. Other
genotoxicity data, especially in vivo, were considered in assessing a likely mode of action for
tumor induction. Any national or international regulatory values for acceptable exposure levels
(e.g., Environmental Protection Agency (EPA), FDA, European Medicines Agency (EMA),
European Chemical Agency (ECHA), World Health Organization (WHO) are described in the
compound-specific assessments. Toxicity information from acute, repeat-dose, reproductive,
neurological, and developmental studies was not reviewed in depth except to evaluate observed
changes that act as a carcinogenic precursor event (e.g., irritation/inflammation, or
methemoglobinemia).

           1.       Standard Method

           1.1.     Linear Mode of Action and Calculation of AI

Note 4 of ICH M7 states:

           It is possible to calculate a compound-specific acceptable intake based on rodent
           carcinogenicity potency data such as TD50 values (doses giving a 50% tumor incidence
           equivalent to a cancer risk probability level of 1:2). Linear extrapolation to a probability
           of 1 in 100,000 (i.e., the accepted lifetime risk level used) is achieved by simply dividing
           the TD50 by 50,000. This procedure is similar to that employed for derivation of the
           TTC.

6
    The CPDB is available at https://toxnet.nlm nih.gov/cpdb/.



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Thus, linear extrapolation from a TD50 value was considered appropriate to derive an AI for
those Class 1 impurities (known mutagenic carcinogens) with no established threshold
mechanism, that is, understanding of a mode of action that results in a non-linear dose-response
curve. In many cases, the carcinogenicity data were available from the CPDB; the conclusions
were based either on the opinion of the original authors of the report on the carcinogenicity study
(author opinion in CPDB) or on the conclusions of statistical analyses provided in the CPDB.
When a pre-calculated TD50 value was identified in the CPDB for a selected chemical, this value
was used to calculate the AI; the relevant carcinogenicity data were not reanalyzed and the TD50
value was not recalculated.

If robust data were available in the literature but not in the CPDB, then a TD50 was calculated
based on methods described in the CPDB (Ref. 3). The assumptions for animal body weight,
respiratory volume, and water consumption for calculation of doses were adopted from ICH Q3C
and ICH Q3D (Ref. 1, 4).

       1.2     Selection of Studies

The quality of studies in the CPDB is variable, although the CPDB does impose criteria for
inclusion such as the proportion of the lifetime during which test animals were exposed. For the
purposes of this Addendum, additional criteria were applied when studies were of lesser quality.
Studies of lesser quality are defined here as those where one or more of the following scenarios
were encountered:

      < 50 animals per dose per sex
      < 3 dose levels
      Lack of concurrent controls
      Intermittent dosing (< 5 days per week)
      Dosing for less than lifetime

The more robust studies were generally used to derive limits. However, studies that did not
fulfill all of the above criteria were, in some cases, considered adequate for derivation of an AI
when other aspects of the study were robust, for example when treatment was for 3 days per
week (e.g., benzyl chloride (BC)), but there was evidence that higher doses would not have been
tolerated, i.e., a Maximum Tolerated Dose (MTD) as defined by the National Toxicology
Program (NTP) or ICH S1C(R2) (Ref. 5) was attained. Calculations of potency take intermittent
or less-than-lifetime dosing such as that for benzyl chloride into account; for example, in the
CPDB the dose levels shown have been adjusted to reflect the estimated daily dose levels, such
that the daily dose given 3 times per week is multiplied by 3/7 to give an average daily dose; a
comparable adjustment is made if animals are treated for less than 24 months. Use of less robust
data can sometimes be considered acceptable when no more complete data exist, given the
highly conservative nature of the risk assessment in which TD50 was linearly extrapolated to a 1
in 100,000 excess cancer risk. In these cases, the rationale supporting the basis for the
recommended approach is provided in the compound-specific assessments.



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       1.3     Selection of Tumor and Site

The lowest TD50 of a particular organ site for an animal species and sex was selected from the
most robust studies. When more than one study exists, the CPDB provides a calculated
harmonic mean TD50, but in this Addendum, the lowest TD50 was considered a more
conservative estimate. Data compiled as “all Tumor Bearing Animals” (TBA) were not
considered in selecting an appropriate TD50 from the CPDB; mixed tumor types (e.g., adenomas
and carcinomas) in one tissue (e.g., liver) were used where appropriate as this often gives a more
sensitive potency estimate.

       1.4     Route of Administration

Section VII.E (7.5) of ICH M7 states:

       The above risk approaches described in Section VII (7) are applicable to all routes of
       administration and no corrections to acceptable intakes are generally warranted.
       Exceptions to consider may include situations where data justify route-specific concerns
       that should be evaluated case-by-case.

In this Addendum, when robust data were available from carcinogenicity studies for more than
one route, and the tumor sites did not appear to be route-specific, the TD50 from the route with
the lowest TD50 value was selected for the AI calculation and is thus usually considered suitable
for all routes. Exceptions may be necessary case by case; for example, in the case of a potent
site-of-contact carcinogen a route-specific AI or PDE might be necessary. Other toxicities such
as irritation might also limit the AI for a certain route, but only tumorigenicity is considered in
this Addendum similar to ICH M7. Here, if tumors were considered site-specific (e.g.,
inhalation exposure resulting in respiratory tract tumors with no tumors at distal sites) and the
TD50 was lower than for other routes, then a separate AI was developed for that route (e.g.,
dimethyl carbamoyl chloride, hydrazine).

       1.5     Calculation of AI from the TD50

Calculating the AI from the TD50 is as follows (see Note 4 of ICH M7 for example):

AI = TD50 / 50,000 x 50 kg

The weight adjustment assumes an arbitrary adult human body weight for either sex of 50 kg.
This relatively low weight provides an additional safety factor against the standard weights of 60
kg or 70 kg that are often used in this type of calculation. It is recognized that some adult
patients weigh less than 50 kg; these patients are considered to be accommodated by the inherent
conservatism (i.e., linear extrapolation of the most sensitive organ site) used to determine an AI.

       2.      Consideration of Alternative Methods for Calculation of AI

       2.1     Human relevance of tumors

Note 4 of ICH M7 states:

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       As an alternative of using the most conservative TD50 value from rodent carcinogenicity
       studies irrespective of its relevance to humans, an in-depth toxicological expert
       assessment of the available carcinogenicity data can be done in order to initially identify
       the findings (species, organ, etc.) with highest relevance to human risk assessment as a
       basis for deriving a reference point for linear extrapolation.

Human relevance of the available carcinogenicity data was considered for deriving AIs. Effects
in rodents associated with toxicities that occur with a non-linear dose response are not relevant to
humans at the low, non-toxic concentrations associated with a pharmaceutical impurity. For
example, in the case of p-Chloroaniline, the most sensitive site for tumor induction was the
spleen, but these tumors were associated with hemosiderosis, considered to be a mode of action
with a non-linear dose response, and thus not relevant to humans at low doses that do not induce
hemosiderosis. In the case of p-Chloroaniline, liver tumors, with a higher TD50, were used for
the linear extrapolation to calculate the AI because a mutagenic mode of action could not be
ruled out for liver tumors. A second category of tumors considered not to be relevant to humans
is tumors associated with a rodent-specific mode of action, e.g., methyl chloride, with species
difference in metabolism.

       2.2     Published regulatory limits

Note 4 of ICH M7 also states:

       Compound-specific acceptable intakes can also be derived from published recommended
       values from internationally recognized bodies such as the World Health Organization
       (WHO, International Programme on Chemical Safety (IPCS) Cancer Risk Assessment
       Programme) and others using the appropriate 10-5 lifetime risk level. In general, a regulatory
       limit that is applied should be based on the most current and scientifically supported data
       and/or methodology.

In this Addendum, available regulatory limits are described (omitting occupational health limits
as they are typically regional and may use different risk levels). However, the conservative
linear extrapolation from the TD50 was generally used as the primary method to derive the AI, as
the default approach of ICH M7, and for consistency across compounds. It is recognized that
minor differences in methodology for cancer risk assessment can result in different
recommended limits (for example adjusting for body surface area in calculations), but the
differences are generally quite small when linear extrapolation is the basis of the calculation.

       1.      Non-linear (Threshold) Mode of Action and Calculation of PDE

ICH M7 states in Section VII.B.2 (7.2.2):

       The existence of mechanisms leading to a dose response that is non-linear or has a
       practical threshold is increasingly recognized, not only for compounds that interact with
       non-DNA targets but also for DNA-reactive compounds, whose effects may be
       modulated by, for example, rapid detoxification before coming into contact with DNA, or
       by effective repair of induced damage. The regulatory approach to such compounds can
       be based on the identification of a No-Observed Effect Level (NOEL) and use of


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       uncertainty factors (see ICH Q3C(R5), Ref.7) to calculate a permissible daily exposure
       (PDE) when data are available.

An example of a DNA-reactive chemical for which a threshold has been proposed for
mutagenicity in vitro and in vivo is ethyl methane sulfonate (Ref. 6, 7). A PDE calculation using
uncertainty factors, instead of linear extrapolation is appropriate in such cases where a threshold
has been established.

This threshold approach was considered appropriate in the compound-specific assessments for
carcinogens with modes of action (Section 2.1 of this Addendum) that lack human relevance at
low doses, based upon their association with a non-linear dose response for tumor induction:

           Chemicals that induce methemoglobinemia, hemosiderin deposits in tissues such as
            spleen, and subsequent inflammation and tumors (e.g., aniline and related
            compounds).

             Supporting information includes evidence that mutagenicity was not central to the
              mode of action, such as weak evidence for mutagenicity, e.g., aniline; and/or lack
              of correlation between sites or species in which in vivo genotoxicity (such as DNA
              adducts) and tumor induction were seen.

           Chemicals that induce tumors associated with local irritation/inflammation (such as
            rodent forestomach tumors) and are site-of-contact carcinogens may be considered not
            relevant to human exposure at low, non-irritating concentrations as potential
            impurities in pharmaceuticals (e.g., benzyl chloride).

           Chemicals that act through oxidative damage, so that deleterious effects do not occur
            at lower doses since abundant endogenous protective mechanisms exist, (e.g.,
            hydrogen peroxide).

Acceptable exposure levels for carcinogens with a threshold mode of action were established by
calculation of PDEs. The PDE methodology is further explained in ICH Q3C(R5) (Ref. 1) and
ICH Q3D (Ref. 4).

       2.        Acceptable Limit Based on Exposure in the Environment, e.g., in the Diet

As noted in ICH M7 Section VII.E. (7.5), “Higher acceptable intakes may be justified when
human exposure to the impurity will be much greater from other sources e.g., food, or
endogenous metabolism (e.g., formaldehyde).” For example, formaldehyde is not a carcinogen
orally, so that regulatory limits have been based on non-cancer endpoints. Health Canada (Ref.
8), WHO, International Programme on Chemical Safety (IPCS) (Ref. 9), and the EPA (Ref. 10),
recommend an oral limit of 0.2 milligrams (mg)/kilograms (kg)/day, or 10 mg/day for a 50 kg
person.



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       Acceptable Intakes (AIs) or Permissible Daily Exposures (PDEs)

 Compound                  CAS#       Chemical         AI or PDE Comment
                                      Structure        (µg/day)
 Linear extrapolation from TD50
 Acrylonitrile             107-13-1                    6                TD50 linear
                                                                        extrapolation

 Benzyl Chloride           100-44-7                    41               TD50 linear
                                                                        extrapolation


 Bis(chloromethyl)ether    542-88-1                    0.004            TD50 linear
                                                                        extrapolation
 1-Chloro-4-nitrobenzene   100-00-5                    117              TD50 linear
                                                                        extrapolation


 p-Cresidine               120-71-8                    45               TD50 linear
                                                                        extrapolation




 Dimethylcarbamoyl         79-44-7                     5                TD50 linear
 chloride                                              0.6              extrapolation
                                                       (Inhalation)*


 Ethyl chloride            75-00-3                     1,810            TD50 linear
                                                                        extrapolation
 Glycidol                  556-52-5                    4                TD50 linear
                                                                        extrapolation

 Hydrazine                 302-01-2                    39               TD50 linear
                                                       0.2              extrapolation
                                                       (Inhalation)*
 Methyl Chloride           74-87-3    Cl-CH3           1,361            TD50 linear
                                                                        extrapolation
 Threshold-based PDE
 Aniline                   62-53-3                     720              PDE based on
 Aniline HCl               142-04-1                                     threshold mode of
                                                                        action
                                                                        (Hemosiderosis)
 Endogenous and/or Environmental Exposure
 Hydrogen peroxide       7722-84-1                     68,000 or        68 mg/day is 1% of
                                                                        estimated


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 Compound                   CAS#           Chemical             AI or PDE Comment
                                           Structure            (µg/day)
                                                                0.5%         endogenous
                                                                whichever is production
                                                                lower
 Other Cases
 p-Chloroaniline            106-47-8                            34             AI based on liver
 p-Chloroaniline HCl        20265-96-7                                         tumors for which
                                                                               mutagenic mode of
                                                                               action cannot be
                                                                               ruled out
 Dimethyl Sulfate           77-78-1                             1.5            Carcinogenicity data
                                                                               available, but
                                                                               inadequate to derive
                                                                               AI. Default to TTC
*Route specific limit



                                      Acrylonitrile (CAS# 107-13-1)

Potential for human exposure
No data are available for exposure of the general population.

Mutagenicity/Genotoxicity
Acrylonitrile is mutagenic and genotoxic in vitro and potentially positive in vivo.

The World Health Organization Concise International Chemical Assessment Document (CICAD,
Ref. 1), provided a thorough risk assessment of acrylonitrile. In this publication, oxidative
metabolism was indicated as a critical step for acrylonitrile to exert genotoxic effects,
implicating cyanoethylene oxide as a DNA-reactive metabolite. A detailed review of
genotoxicity testing in a range of systems is provided (Ref. 1) with references, so only a few key
conclusions are summarized here.

Acrylonitrile is mutagenic in:

       Microbial reverse mutation assay (Ames) in Salmonella typhimurium TA 1535 and TA
        100 only in the presence of rat or hamster S9 and in several Escherichia coli strains in the
        absence of metabolic activation

       Human lymphoblasts and mouse lymphoma cells, reproducibly with S9, in some cases
        without S9

       Splenic T cells of rats exposed via drinking water

In vivo genotoxicity studies are negative or inconclusive, and reports of DNA binding are
consistently positive in the liver, but give conflicting results in the brain.



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Carcinogenicity

Acrylonitrile is classified by the International Agency for Research on Cancer (IARC) as a
Group 2B carcinogen, possibly carcinogenic to humans (Ref. 2). Acrylonitrile is a multi-organ
carcinogen in mice and rats, with the brain being the primary target organ in rats. There are four
oral carcinogenicity studies cited in the CPDB (Ref. 3) and the results from three additional oral
studies are summarized in Ref. 1. Of these seven studies, only one is negative, but this study
tested only a single dose administered for short duration (Ref. 4).

The National Cancer Institute/National Toxicology Program (NCI/NTP) study in the CPDB of
acrylonitrile in mice (Ref. 5) was selected for derivation of the oral AI, based on robust study
design and the most conservative TD50 value. In this 2-year study, three doses of acrylonitrile
were administered by oral gavage to male and female mice. There were statistically significant
increases in tumors of the Harderian gland and forestomach.

In the 1980 study of Quast et al. (Ref. 6), cited in the CPDB as a report from Dow Chemical, it
appears that the most sensitive TD50 is for astrocytomas in female rats (5.31 milligrams
(mg)/kilograms (kg)/day (d)). However, this same study was later described in detail (Ref. 7)
and the calculated doses in that published report are higher than those listed in the CPDB. Quast
(Ref. 7) describes the derivation of doses in mg/kg/day from the drinking water concentrations of
35, 100 and 300 parts per million (ppm), adjusting for body weight and the decreased water
consumption in the study. The TD50 for astrocytomas derived from these numbers is 20.2
mg/kg/day for males and 20.8 mg/kg/day for females, in contrast to the calculated values in the
CPDB of 6.36 mg/kg/day and 5.31 mg/kg/day. The TD50’s calculated from the dose estimates by
Quast (Ref. 7) for forestomach tumors are also higher than those in the CPDB based on the same
study, as shown in the Table below. Central nervous system (CNS) tumors are described (Ref.
7), but the most sensitive TD50 was for stomach tumors, as shown in the Table below.

Studies considered less robust included three rat drinking water studies. The largest study (Ref.
8) included five acrylonitrile treated groups with 100 animals per dose and 200 control animals,
but serial sacrifices of 20 animals per treatment group occurred at 6, 12, 18 and 24 months. Data
summaries by WHO (Ref. 1) and by the EPA (Ref. 9) present tumor incidence based on data
from all time points combined. Therefore, the incidence of tumors reported may be an
underestimate of the total tumors that would be observed if all animals were kept on study for 2
years. Two studies (Ref. 10, 11) each had only two dose levels and individual tumor types are
not reported (Ref. 1), although tumors of stomach, Zymbal gland and brain were observed.

Acrylonitrile has also been studied by the inhalation route. Fifty rats per sex per dose were
exposed for 2 years to acrylonitrile, and brain tumors were observed (Ref. 12). This study
however, tested only 2 dose levels. The other inhalation studies were deficient in number of
animals per group, duration of exposure, or administration of a single dose, although brain
tumors were observed.




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Acrylonitrile – Details of carcinogenicity studies
  Study         Animals/            Duration/        Controls   Doses           Most            TD50
                dose group          Exposure                                    sensitive       (mg/kg/d)
                                                                                tumor
                                                                                site/type/sex
                50 B6C3F1           2 years          50         3: 1.79;7.14;   Forestomach     6.77+
                Mice (F)            Gavage                      14.3 mg/kg/d
  Ref. 5*
                50 B6C3F1           2 years          50         3: 1.79;7.14;   Forestomach     5.92+
                Mice (M)            Gavage                      14.3 mg/kg/d
                ~50 SD Spartan      2 years          ~80        3:              Astrocytoma     5.31++
                rats                Drinking                    2.00;5.69;                      (20.8)
                (F)                 water                       15.4 mg/kg/d
  Ref. 6
                ~50 SD Spartan      2 years          ~80        3:              Stomach,        6.36++
                rats                Drinking                    1.75;4.98;      non-glandular   (9.0)
                (M)                 water                       14.9 mg/kg/d
                ~50 female SD       2 years          ~80        3:              Stomach,        19.4
  Ref 7         Spartan rats        Drinking                    4.4;10.8; 25    non-glandular
  (report                           water                       mg/kg/d
  of Ref.       ~50 SD male         2 years          ~80        3:              Stomach,        9.0
  6)            Spartan rats        Drinking                    3.4;8.5;        non-glandular
                                    water                       21.3 mg/kg/d
                100 male rats       ~2 years         ~200       5:              Brain           (22.9)+
                                    Drinking                    0.1-8.4         astrocytoma
                                    water                       mg/kg/d
  Ref. 8¥
                100 female rats     ~2 years         ~200       5:              Brain           (23.5)+
                                    Drinking                    0.1-10.9        astrocytoma
                                    water                       mg/kg/d
                100/sex             19-22 months     ~98        2:              Stomach,        NC
                Rats                (mo)                        ~0.09; 7.98     Zymbal’s
  Ref. 11   ¥
                                    Drinking                    mg/kg/d         gland, brain,
                                    water                                       spinal cord
                50/sex              18 mo            No         2:              Brain,          NC^
                Rats                Drinking                    14;70 mg/kg/d   Zymbal’s
  Ref. 10¥
                                    water                                       gland,
                                                                                forestomach
                20                  2 years          No         3:              Zymbal’s        30.1
  Ref. 13       male CD rats        Drinking                    1; 5; 25        gland
                                    water                       mg/kg/d
                40/sex              1 year           75/sex     1:              Neg in both     NA
  Ref. 4         SD rats            3d/week (wk)                1.07 mg/kg/d    sexes
                                    Gavage
                100/sex             2 years          100       2:              Brain           32.4
                SD Spartan rat      6 hours                     M: 2.27; 9.1    Astrocytoma
  Ref. 12                           (h)/day (d); 5              F: 3.24; 13.0   Male
                                    d/wk                        mg/kg/d
                                    Inhalation




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  Study        Animals/             Duration/         Controls     Doses               Most              TD50
               dose group           Exposure                                           sensitive         (mg/kg/d)
                                                                                       tumor
                                                                                       site/type/sex
               30/sex               1 year            30           4:                  Brain glioma      19.1
               SD rats              5 d/wk                         M: 0.19; 0.38;      Male
                                    Inhalation                     0.76; 1.52
  Ref. 4                                                           F:
                                                                   0.27;0.54;1.0;
                                                                   2.17
                                                                   mg/kg/d
               54 female SD         2 years           60           1:                  Brain glioma      (132)
  Ref. 4       rats                 5 d/wk                         11.1 mg/kg/d
                                    Inhalation
Studies listed are in CPDB (Ref. 3) unless otherwise noted.
The TD50 values represent the TD50 from the most sensitive tumor site.
TD50 values in parentheses are considered less reliable as explained in footnotes.
*
  Carcinogenicity study selected for AI calculation; in CPDB.
^
 NC= Not calculated as individual tumor type incidences not provided in WHO (Ref. 1).
+
  TD50 calculated based on astrocytoma incidence implied as most significant site by WHO (Ref. 1). Serial sampling
reduced number of animals exposed for 2 years, so tumor incidences may be underestimates.
++
   Taken from the CPDB. Note that based on the dose calculations by the author (Ref. 7) the TD 50 for astrocytomas
and stomach tumors in Spartan rats (20.8 and 9.0) are higher than those in the CPDB.
NA= Not applicable.
¥
  Not in CPDB. Summarized in Refs. 1 and 9.

   Single dose-level study.

Mode of action for carcinogenicity

Although the mechanism of carcinogenesis remains inconclusive, a contribution of DNA
interaction cannot be ruled out (Ref. 1). CNS tumors were seen in multiple carcinogenicity
studies in rats, in addition to forestomach tumors; forestomach tumors were also the most
sensitive tumor type in mice.

Forestomach tumors are associated with local irritation and inflammation, and Quast (Ref. 7)
notes the typical association between these tumors in rats and hyperplasia and/or dyskeratosis,
with other inflammatory and degenerative changes. Forestomach tumors in rodents administered
high concentrations orally, a type of site-of-contact effect, may not be relevant to human
exposure at low concentrations that are non-irritating (Ref. 14). Acrylonitrile is not only a site-
of-contact carcinogen. Tumors were seen in the CNS, in addition to tissues likely to be exposed
directly, such as the gastrointestinal tract and tongue. Forestomach tumors were seen after
administration of acrylonitrile to rats in drinking water, and to mice by gavage. The AI for
acrylonitrile was derived based on mouse forestomach tumors.

Regulatory and/or published limits

The EPA (Ref. 9) calculated an oral slope factor of 0.54 /mg/kg/day and a drinking water limit of
0.6 µg/L at the 1/100,000 risk level, based on the occurrence of multi-organ tumors in a drinking
water study in rats. This drinking water limit equates to a daily dose of ~1 µg/day for a 50 kg
human.

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Acceptable intake (AI)

Rationale for selection of study for AI calculation

Both inhalation and oral studies (gavage and drinking water) are available. Tumors of the CNS
were seen by both routes of administration, and acrylonitrile is rapidly absorbed via all routes of
exposure and distributed throughout examined tissues (Ref. 1), so that a specific inhalation AI
was not considered necessary. All the carcinogenicity studies that were used by the EPA (Ref. 9)
in the derivation of the drinking water limit for acrylonitrile were reviewed when selecting the
most robust carcinogenicity study for the derivation of an AI. The NCI/NTP study (Ref. 5) was
selected to calculate the AI based on the TD50 derived from administering acrylonitrile by oral
gavage to male and female mice, since the tumor type with the lowest TD50 was forestomach
tumors in male mice, with a TD50 value of 5.92 mg/kg/day. As discussed in the Methods Section
2.2 of this Addendum, linear extrapolation from the TD50 was used here to derive the AI, and it
is expected that minor differences in methodology can result in different calculated limits; thus
the AI calculated below for potential pharmaceutical impurities is slightly higher than that
derived by EPA (Ref. 9) for drinking water.

Calculation of AI

Lifetime AI = TD50/50,000 x 50kg

Lifetime AI = 5.92 (mg/kg/day)/50,000 x 50 kg

Lifetime AI = 5.9 µg/day (6 µg/day)




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                Aniline (CAS# 62-53-3) and Aniline Hydrochloride (CAS# 142-04-1)

Potential for human exposure

Aniline occurs naturally in some foods (i.e., corn, grains, beans, and tea), but the larger source of
exposure is in industrial settings.

Mutagenicity/genotoxicity

Aniline is not mutagenic in the microbial reverse mutation assay (Ames) in Salmonella. Aniline
is included in this Addendum because of the historical perception that aniline is a genotoxic
carcinogen, since some in vitro and in vivo genotoxicity tests are positive.

Aniline is not mutagenic in the 5 standard strains of Salmonella or in E.Coli WP2 uvrA, with or
without S9 (Ref. 1, 2, 3, 4, 5, 6, 7, 8).

Aniline was positive in the mouse lymphoma L5178Y cell tk assay with and without S9 at quite
high concentrations, such as 0.5 to 21 millimeters (mM) (Ref. 9, 10, 11).

Chromosomal aberration tests gave mixed results, with some negative reports and some positive
results in hamster cell lines at very high, cytotoxic concentrations, e.g., about 5 to 30 mM, with
or without S9 metabolic activation (Ref. 1, 12, 13, 14, 15).

In vivo, chromosomal aberrations were not increased in the bone marrow of male CBA mice
after two daily intraperitoneal (i.p.) doses of 380 mg/kg (Ref. 16), but a small increase in
chromosomal aberrations 18 hours after an oral dose of 500 mg/kg to male PVR rats was
reported (Ref. 17).

Most studies of micronucleus induction are positive in bone marrow after oral or i.p. treatment of
mice (Ref. 18, 19, 20, 21) or rats (Ref. 17, 22), and most commonly at high doses, above 300
mg/kg. Dietary exposure to 500, 1000 and 2000 ppm for 90 days was associated with increases
in micronuclei in peripheral blood of male and female B6C3F1 mice (Ref. 23).

In vivo, a weak increase in Sister Chromatid Exchanges (SCE), reaching a maximum of 2-fold
increase over the background, was observed in the bone marrow of male Swiss mice 24 h after a
single i.p. dose of 61 to 420 mg/kg aniline (Ref. 24, 25). DNA strand breaks were not detected
in the mouse bone marrow by the alkaline elution assay in this study.

Carcinogenicity

Aniline is classified by IARC as Group 3, not classifiable as to its carcinogenicity in humans
(Ref. 4).

Bladder cancers in humans working in the dye industry were initially thought to be related to
aniline exposure but were later attributed to exposures to intermediates in the production of
aniline dyes, such as -naphthylamine, benzidine, and other amines.


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The Chemical Industry Institute of Toxicology (CIIT, Ref. 26) performed a study in which
aniline hydrochloride was administered in the diet for 2 years to CD-F rats (130 rats/sex/group)
at levels of 0, 200, 600, and 2000 ppm. An increased incidence of primary splenic sarcomas was
observed in male rats in the high dose group only. This study was selected for derivation of the
PDE for aniline based on the robust study design with 3 dose groups and a large group size
(130/sex/group).

The results of the CIIT study are consistent with those of the dietary study by the National
Cancer Institute (Ref. 27) of aniline hydrochloride in which male rats had increases in
hemangiosarcomas in multiple organs including spleen, and a significant dose-related trend in
incidence of malignant pheochromocytoma. In mice (Ref. 27), no statistically significant
increase in any type of tumor was observed at very high doses.

Aniline itself did not induce tumors in rats when tested in a less robust study design (Ref. 28).

Aniline and Aniline HCl – Details of carcinogenicity studies

    Study         Animals/          Duration/      Controls      Doses            Most sensitive        TD50
                  dose group        Exposure                                      tumor                 (mg/kg/d)
                                                                                  site/type/sex
                  130/sex/          2 years        130           3:               Spleen sarcoma        Not
                  group, CD-F       Diet                         200, 600 and     (high dose).          reported
    Ref. 26*
                  rats                                           2000 ppm in      NOEL at low
    Aniline
                                                                 diet             dose
    HCl
                                                                 (M; 7.2; 22;
                                                                 72 mg/kg/d)
                  50/sex/group,     103 weeks      50            2:               Spleen                160 (Male)
                  F344 rats         (wks)                        3000 and         hemangio-
    Ref. 27**                       (107-110                     6000 ppm in      sarcoma/Male
    Aniline                         wk study)                    diet
    HCl                             Diet                         (F: 144;268
                                                                 M: 115;229
                                                                 mg/kg/d)
                  50/sex/group      103 wks        50            2:               Negative              NA
                  B6C3F1 mice       (107-110                     6000 and
    Ref. 27**                       wk study)                    12000 ppm in
    Aniline                         Diet                         diet
    HCl                                                          (F: 741;1500
                                                                 M: 693;1390
                                                                 mg/kg/d)
                  10-18/group,      80 wks         Yes           3:               Negative              NA
                  male Wistar       Diet                         0.03, 0.06
    Ref. 28**     rats                                           and 0.12% in
    Aniline                                                      diet
                                                                 (15;30;60
                                                                 mg/kg/d)
*
    Carcinogenicity study selected for PDE calculation. Not in CPDB.
**
    Taken from CPDB (Ref. 29). The TD50 values represent the TD50 from the most sensitive tumor site.


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NA = Not applicable

Mode of action for carcinogenicity

In animal studies, aniline caused methemoglobinemia and hemolysis at high doses, the latter of
which could indirectly lead to increases in micronuclei by inducing erythropoiesis (Ref. 19, 30,
31). Micronuclei are induced in both rats and mice, while aniline-induced tumors are seen in rats
but not mice, adding to the evidence that genotoxicity is not key to the mode of action for
aniline-induced tumors.

Aniline-induced toxicity in the spleen appears to be a contributory factor for its carcinogenicity
via free radical formation and tissue injury (Ref. 32). High doses (>10 mg/kg) of aniline lead to
iron accumulation in the spleen resulting from the preferential binding of aniline to red blood
cells and damaged cells accumulating in the spleen. Iron-mediated oxidative stress in the spleen
appears to induce lipid peroxidation, malondialdehyde-protein adducts, protein oxidation, and
up-regulation of Transforming Growth Factor-β 1, all of which have been detected in the rat
spleen following aniline exposure (Ref. 33). Increased oxidative stress may be a continual event
during chronic exposure to aniline and could contribute to the observed cellular hyperplasia,
fibrosis, and tumorigenesis in rats (Ref. 32, 34). The lack of tumorigenicity in mice may be due
to less severe toxicity observed in spleen compared to that in rats (Ref. 17, 35).

In support of this toxicity-driven mode of action for carcinogenicity, the dose response for
aniline-induced tumorigenicity in rats is non-linear (Ref. 36). When considering the NCI and
CIIT studies which both used the same rat strain, no tumors were observed when aniline
hydrochloride was administered in the diet at a concentration of 0.02% (equal to approximately
7.2 mg/kg/day aniline in males). This, together with studies evaluating the pattern of
accumulation of bound radiolabel derived from aniline in the spleen (Ref. 37) support the
conclusion that a threshold exists for aniline carcinogenicity (Ref. 36). The weight of evidence
supports the conclusion that these tumors do not result from a primary mutagenic mode of action
(Ref. 38).

Regulatory and/or published limits

The EPA (Ref. 39) outlines a quantitative cancer risk assessment for aniline based on the CIIT
study (Ref. 26) and use of a linearised multistage. The resulting cancer potency slope curve was
0.0057/mg/kg/day and the dose associated with a 1 in 100,000 lifetime cancer risk is calculated
to be 120 µg/day. However, the assessment states that this procedure may not be the most
appropriate method for the derivation of the slope factor as aniline accumulation in the spleen is
nonlinear (Ref. 39). Minimal accumulation of aniline and no hemosiderosis is observed at doses
below 10 mg/kg and as already described, hemosiderosis may be important in the induction of
the splenic tumors observed in rats.

Permissible daily exposure (PDE)

It is considered inappropriate to base an AI for aniline on linear extrapolation for spleen tumors
observed in rats, since these have a non-linear dose response, aniline is not mutagenic, and


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genotoxicity is not central to the mode of action of aniline-induced carcinogenicity. The PDE is
derived using the process defined in ICH Q3C (Ref. 40).

Rationale for selection of study for PDE calculation

Data from the CIIT 2-year rat carcinogenicity study (Ref. 26) have been used. Dose levels of
200, 600, and 2000 ppm for aniline hydrochloride in the diet were equivalent to dose levels of
aniline of 7.2, 22 and 72 mg/kg/day. Tumors were observed in high dose males and one stromal
sarcoma of the spleen was identified at 22 mg/kg/day. Based on these data the lowest dose of 7.2
mg/kg/day was used to define the NOEL for tumors.

The PDE calculation is: (NOEL x body weight adjustment (kg)) / F1 x F2 x F3 x F4 x F5

The following safety factors as outlined in ICH Q3C have been applied to determine the PDE for
aniline:

F1 = 5 (rat to human)
F2 = 10 (inter- individual variability)
F3 = 1 (study duration at least half lifetime)
F4 = 10 (severe toxicity – non-genotoxic carcinogenicity)
F5 = 1 (using a NOEL)

Lifetime PDE = 7.2 mg/kg/day x 50 kg / (5 x 10 x 1 x 10 x 1)

Lifetime PDE = 720 µg/day




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                         Benzyl Chloride (α-Chlorotoluene, CAS# 100-44-7)

Potential for human exposure

Human exposure is mainly occupational via inhalation while less frequent is exposure from
ingesting contaminated ground water.

Mutagenicity/genotoxicity

Benzyl chloride is mutagenic and genotoxic in vitro but not in mammalian systems in vivo.

The IARC published a monograph performing a thorough review of the
mutagenicity/genotoxicity data for benzyl chloride (Ref. 1). Some of the key conclusions are
summarized here.

Benzyl chloride is mutagenic in:

      Microbial reverse mutation assay (Ames) in Salmonella typhimurium strain TA100.
       Results of the standard assay are inconsistent across and within laboratories, but clear
       increases are obtained when testing in the gaseous phase (Ref. 2)

      Chinese hamster cells (Ref. 1)

      Benzyl chloride did not induce micronuclei in vivo in mouse bone marrow following oral,
       intraperitoneal or subcutaneous administration, but did form DNA adducts in mice after
       i.v. administration (Ref. 1)

Carcinogenicity

Benzyl chloride is classified as Group 2A, probably carcinogenic to humans (Ref. 3).

Benzyl chloride was administered in corn oil by gavage 3 times/week for 104 weeks to F-344
rats and B6C3F1 mice (Ref. 4). Rats received doses of 0, 15, or 30 mg/kg (estimated daily dose:
0, 6.4, 12.85 mg/kg); mice received doses of 0, 50, or 100 mg/kg (estimated daily dose: 0, 21.4,
42.85 mg/kg). In rats, the only statistically significant increase in the tumor incidence was for
thyroid C-cell adenoma/carcinoma in the female high-dose group (27% versus 8% for control).
A discussion of whether these thyroid tumors were treatment-related is included below. Several
toxicity studies were conducted but C-cell hyperplasia was noted only in this lifetime study and
only in female rats.

In mice (Ref. 4), there were statistically significant increases in the incidence of forestomach
papillomas and carcinomas (largely papillomas) at the high dose in both males and females (62%
and 37%, respectively, compared with 0% in controls). Epithelial hyperplasia was observed in
the stomachs of animals without tumors. There were also statistically significant increases in
male but not female mice in hemangioma or hemangiosarcoma (10% versus 0% in controls) at


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the high dose and in carcinoma or adenoma in the liver but only at the low dose (54% versus
33% in controls). In female, but not male, mice there were significant increases in the incidence
of alveolar-bronchiolar adenoma or carcinoma at the high dose (12% versus 1.9% in controls).

Additional studies to assess carcinogenic potential were conducted but were not considered of
adequate study design for use in calculating an AI. In one of three topical studies (Ref. 5) skin
carcinomas were increased, although not statistically significantly (15% versus 0% in benzene
controls). Initiation-promotion studies to determine the potential of benzyl chloride to initiate
skin cancer, using croton oil and the phorbol ester TPA (12-O-tetradecanoyl-phorbol-13-acetate)
as promoters (Ref. 6, 7, 8) were of limited duration and the published reports were presented as
preliminary findings, but no final results have been located in the literature. Injection site
sarcomas were seen after subcutaneous administration (Ref. 9).
Benzyl chloride – Details of carcinogenicity studies
  Study       Animals/dose     Duration/        Controls   Doses        Most             TD50
              group            Exposure                                 sensitive        (mg/kg/d)
                                                                        tumor
                                                                        site/type/sex
                                                                        or tumor
                                                                        observations
              52/sex/group     2 year           52         2:           Thyroid          40.6
              F344 rat         3 times/wk                  15 and 30    C-cell
  Ref. 4*                      Gavage                      mg/kg        neoplasm/
                                                           (6 and 12    Female
                                                           mg/kg/d)
              52/sex/group     2 year           52         2:           Forestomach      49.6
              B6C3F1           3 times/wk                  50 and 100   papilloma,
  Ref. 4      mouse            Gavage                      mg/kg        carcinoma/
                                                           (21 and 42   Male
                                                           mg/kg/d)
              11/group         9.8 mo           Yes        1:           No skin          NC ^
              female ICR       3 times/wk for   (benzene   10 µL        tumors
  Ref. 5      mouse            4 wks, 2         treated)
                               times/wk
                               Dermal
              20/group         50 wks           20         1:           Skin             NC ^
              female ICR       2 times/wk       (benzene   2.3 µL       squamous
  Ref. 5
              mouse            Dermal           treated)                cell
                                                                        carcinoma
              20/group         >7 mo            20         1:           No skin          NC ^
              male ICI Swiss   2 times/wk                  100          tumors
  Ref. 6
              albino mouse     Dermal, in                  µg/mouse
                               toluene
              14 (40 mg/kg),   51 wks           Yes        2:           Injection site   NC ^
              and 8 (80        1 time/wk                   40 and 80    sarcoma
  Ref. 9      mg/kg)           Subcutaneous                mg/kg/wk
              BD rat




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  Study          Animals/dose       Duration/          Controls     Doses           Most              TD50
                 group              Exposure                                        sensitive         (mg/kg/d)
                                                                                    tumor
                                                                                    site/type/sex
                                                                                    or tumor
                                                                                    observations
                 40/sex/group       10 mo              40           1:              No skin           NC ^
                 Theiler's          1 dose (in                      1 mg/           tumors
                 Original mouse     toluene); wait                  mouse
  Ref. 7                            1 wk
                                    Promoter
                                    (croton oil)
                                    2 times/wk
                 Sencar mice        6 mo               Yes          3: 10; 100      20% skin          NC ^
                                    1 dose;                         and             tumors [5%
                                    Promoter                        1000 µg/        in TPA
                                    (TPA)                           mouse           controls]
  Ref. 8
                                    2 times/wk                                      (DMBA
                                                                                    controls had
                                                                                    skin tumors
                                                                                    by 11 wks)
Studies listed are in CPDB (Ref. 10) unless otherwise noted.
*
  Carcinogenicity study selected for AI calculation.
^
 NC= Not calculated; small group size, limited duration. Not included in CPDB as route with greater likelihood of
systemic exposure is considered more relevant.

Mode of action for carcinogenicity

The tumor types with the lowest calculated TD50 (highest potency) in the CPDB (Ref. 10) for
benzyl chloride are forestomach tumors in mice and thyroid C-cell tumors in female rats. The
relevance of the forestomach tumors to human risk assessment for low, non-irritating doses such
as those associated with a potential impurity is highly questionable.

Forestomach tumors in rodents have been the subject of much discussion in assessment of risk to
humans. With non-mutagenic chemicals, it is recognized that after oral gavage administration,
inflammation and irritation related to high concentrations of test materials in contact with the
forestomach can lead to hyperplasia and ultimately tumors. Material introduced by gavage can
remain for some time in the rodent forestomach before discharge to the glandular stomach, in
contrast to the rapid passage through the human esophagus. Such tumor induction is not relevant
to humans at non-irritating doses. The same inflammatory and hyperplastic effects are also seen
with mutagenic chemicals, where it is more complex to determine relative contribution to mode
of action of these non-mutagenic, high-dose effects compared with direct mutation induction.
However, often a strong case can be made for site-of-contact tumorigenesis that is only relevant
at concentrations that cause irritation/inflammation, potentially with secondary mechanisms of
damage. Cell proliferation is expected to play an important role in tumor development such that
there is a non-linear dose response and the forestomach (or other site-of-contact) tumors are not
relevant to low-dose human exposure.




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Proctor et al. (Ref. 11) proposed a systematic approach to evaluating relevance of forestomach
tumors in cancer risk assessment, taking into account whether any known genotoxicity is
potentially relevant to human tissues (this would include whether a compound is genotoxic in
vivo), whether tumors after oral administration of any type are specific to forestomach, and
whether tumors are observed only at doses that irritate the forestomach or exceed the MTD.

As described above and in the table, benzyl chloride predominantly induces tumors at the site-of-
contact in rats and mice following exposure to high doses by gavage (forestomach tumors), by
injection (injection site sarcoma) and by topical application in a skin tumor initiation-promotion
model in sensitive Sencar mice. An OECD report in the Screening Information Dataset (SIDS)
for high volume chemicals describes benzyl chloride as intensely irritating to skin, eyes, and
mucous membranes in acute and repeat dose studies (Ref. 12). Groups of 10 Fischer 344 rats of
both sexes died within 2-3 weeks from severe acute and chronic gastritis of the forestomach,
often with ulcers, following oral administration 3 times/week of doses > 250 mg/kg for males
and >125 mg/kg for females (Ref. 4). Proliferative changes observed in female rats at lower
doses included hyperplasia of the forestomach (62 mg/kg), and hyperkeratosis of the
forestomach (30 mg/kg). The incidence of forestomach tumors was high in mice in the
carcinogenicity study, and Lijinsky (Ref. 4) also observed non-neoplastic lesions in the
forestomach of the rat in the subchronic range-finding study, but few forestomach neoplasms
developed in the rat carcinogenicity assay. Due to the steepness of the dose-response curve and
the difficulty establishing the MTD for rats, the author speculates that it was possible that the
dose used in the rat study was marginally too low to induce a significant carcinogenic effect in
rats.

In the case of benzyl chloride, other tumor types were discussed as possibly treatment-related
besides those at the site-of-contact. In the mouse oral bioassay, Lijinsky characterized the
carcinogenic effects other than forestomach tumors as “marginal,” comprising an increase of
endothelial neoplasms in males, alveolar-bronchiolar neoplasms of the lungs only in female mice
(neither of these is statistically significant) and hepatocellular neoplasms only in low dose male
mice (this tumor type was discounted as not dose related). It is of note that OECD SIDS (Ref.
12) reports observations of severe to moderate dose-related liver hyperplasia in a 26-week oral
toxicity study in mice.

Statistically significant increases were reported in hemangiomas/hemangiosarcomas of the
circulatory system in the male mice (TD50 454 mg/kg/day), and in thyroid C-cell adenomas or
carcinomas in the female rats (TD50 40.6 mg/kg/day). The levels of thyroid C-cell tumors in
female rats in the high dose group, while higher than female concurrent controls, (14/52 versus
4/52 in controls) were similar to the levels in the male concurrent controls (12/52). In males,
thyroid C-cell tumor levels were lower in treated than in control rats. In a compilation of
historical control data from Fisher 344 rats in the NTP studies (Ref. 13, 14), males and females
show comparable levels of C-cell adenomas plus carcinomas in this rat strain, although the range
is wider in males. Thus, it is likely justifiable to compare the thyroid tumor levels in female rats
treated with benzyl chloride with the concurrent controls of both sexes, and question whether the
female thyroid tumors are treatment-related, although they were higher than the historical control
range cited at the time (10%).



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Regulatory and/or published limits

The EPA (Ref. 15) derived an Oral Slope Factor of 1.7×10-1 per (mg/kg)/day, which corresponds
to a 1 in 100,000 risk level of 2 μg/L or approximately 4 μg/day using EPA assumptions.

Acceptable intake (AI)

Rationale for selection of study for AI calculation

The most robust evaluation of the carcinogenic potential of benzyl chloride was the Lijinsky et
al. study (Ref. 4) that utilized oral (gavage) administration. In this study, the animals were
treated 3 days a week rather than 5 days a week as in a typical NCI/NTP study. Overall,
however, the rat study is considered adequate for calculation of an AI because there was
evidence that the top dose was near the maximum tolerated dose. In a 26-week range finding
study described in the same report (Ref. 4), all 10 rats of each sex given 125 or 250 mg/kg (3
days per week) died within 2-3 weeks. The cause of death was severe gastritis and ulcers in the
forestomach; in many cases there was also myocardial necrosis. At 62 mg/kg, only 4 of 26
females survived to 26 weeks, and myocardial necrosis and forestomach hyperplasia were seen;
hyperkeratosis of the forestomach was seen in some females at 30 mg/kg. At 62 mg/kg benzyl
chloride, there was a decrease in body weight gain in both sexes, which was statistically
significant in males. Thus, the high dose chosen for the carcinogenicity study was 30 mg/kg (3
times per week). At this dose, there was no difference from controls in survival in the 2-year
carcinogenicity study, but three male rats had squamous cell carcinomas and papillomas of the
forestomach, so it is unlikely that a lifetime study could have been conducted at a higher dose.

As described in the Methods Section 2.2 of this Addendum, linear extrapolation from the TD50
was used to derive the AI. As described above, it is highly unlikely that benzyl chloride poses a
risk of site-of-contact tumors in humans exposed to low concentrations as impurities in
pharmaceuticals, well below concentrations that could cause irritation/inflammation. Therefore,
the observed forestomach tumors in male mice are not considered relevant for the AI calculation.
The significance of the thyroid C-cell tumors in female rats is also questionable since these
tumors occur commonly in control rats. However, given the uncertain origin of these tumors, the
thyroid C-cell tumors were used to derive the AI since they were associated with the lowest
TD50: 40.6 mg/kg/day.

Calculation of AI

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 40.6 (mg/kg/day)/50,000 x 50 kg

Lifetime AI = 40.6 µg/day (41 µg/day)




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                          Bis(chloromethyl)ether (BCME, CAS# 542-88-1)

Potential for human exposure

Industrial use, mainly via inhalation with minimal environmental exposure as result of rapid
degradation in the environment, which is supported by the reported absence of BCME in ambient
air or water (Ref. 1).

Mutagenicity/genotoxicity

BCME is mutagenic and genotoxic in vitro and in vivo.

BCME is mutagenic in:

      Microbial reverse mutation assay (Ames), Salmonella typhimurium (Ref. 2).

In vivo, BCME did not cause chromosomal aberrations in bone-marrow cells of rats exposed by
inhalation for 6 months (Ref. 3). A slight increase in the incidence of chromosomal aberrations
was observed in peripheral lymphocytes of workers exposed to BCME (Ref. 4).

Carcinogenicity

BCME is classified by the EPA as a Group A, known human carcinogen (Ref. 5), and by IARC
as a Group 1 compound, carcinogenic to humans (Ref. 6).

As described in the above reviews, numerous epidemiological studies have demonstrated that
workers exposed to BCME (via inhalation) have an increased risk for lung cancer. Following
exposure by inhalation, BCME is carcinogenic to the respiratory tract of rats and mice as
described in the following studies:

The study of Leong et al (Ref. 3) was selected for derivation of the AI based on the most robust
study design and the lowest TD50 value. Groups of male Sprague-Dawley rats and Ha/ICR mice
were exposed by inhalation to 1, 10, and 100 ppb of BCME 6 h/day, 5 days/week for 6 months
and subsequently observed for the duration of their natural lifespan (about 2 years). Evaluation
of groups of rats sacrificed at the end of the 6-month exposure period revealed no abnormalities
in hematology, exfoliative cytology of lung washes, or cytogenetic parameters of bone marrow
cells. However, 86.5% of the surviving rats which had been exposed to 100 ppb (7780
ng/kg/day, or ~8 µg/kg/day) of BCME subsequently developed nasal tumors
(esthesioneuroepitheliomas, tumors of the olfactory epithelium, which are similar to the rare
human neuroblastoma) and approximately 4% of the rats developed pulmonary adenomas.
Tumors were not observed in rats exposed to 10 or 1 ppb of BCME. Mice exposed to 100 ppb of
BCME did not develop nasal tumors, but showed a significant increase in incidence of
pulmonary adenomas over the control mice. Mice exposed to 10 or 1 ppb of BCME did not
show a significant increase in incidence of pulmonary adenomas.




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In an inhalation study, male Sprague-Dawley rats were exposed to BCME at a single dose level
of 0.1 ppm (100 ppb) 6 h/day, 5 days/week for 10, 20, 40, 60, 80, or 100 days, then observed for
the remainder of their lifetimes (Ref. 7). There was a marked increase in the incidence of several
types of respiratory tract tumors in the treated animals compared with the controls.

BCME is a site-of-contact carcinogen, producing injection site sarcomas (Ref. 8) and skin
tumors in mice (Ref. 9); it also induces lung adenomas in newborn mice following sub-cutaneous
application (Ref. 10).
Bis(chloromethyl)ether (BCME) – Details of carcinogenicity studies
  Study         Animals/dose       Duration/      Controls      Doses          Most sensitive TD50
                group              Exposure                                    tumor           (mg/kg/d)
                                                                               site/type/sex
                ~104/group         28 wks         104           3:             Nasal passage - 0.00357
                Rat, male          6 h/d, 5                     1; 10; 100     esthesioneuro-
                Sprague-           d/wk                         ppb            epitheliomas
  Ref. 3*
                Dawley.            Inhalation                   (53;528;
                                                                7780
                                                                ng/ kg/d)
                138-144/           25 wks         157           3:             Lung adenomas      No
                group              6 h/d,                       1; 10; 100                        significant
                Mouse, male        5 d/wk                       ppb                               increases
  Ref. 3
                ICR/Ha.            Inhalation                   (0.295;
                                                                2.95;33.6
                                                                ng/kg/d)
                30-50 treated      6 h/d, 5       240           1:             Lung and nasal     NC^
                for different      d/wk, for                    0.1 ppm        cancer
                durations with     10, 20, 40,
  Ref. 7        same               60, 80, and
                concentration,     100
                male Sprague       exposures.
                Dawley rats.       Inhalation
                100/group          Lifetime       NA            1:             One                NC^
                male Golden        6 h/d, 5                     1 ppm          undifferentiated
  Ref. 7
                Syrian             d/wk,                                       in the lung
                Hamsters.          Inhalation
                50/group           424-456        50            1:             Sarcoma (at the    0.182
                female ICR/Ha      days,                        0.114          injection site)
                Swiss mice.        once                         mg/kg/d
  Ref. 9
                                   weekly
                                   Intra-
                                   peritoneal
Studies listed are in CPDB (Ref. 11) unless otherwise noted.
*
  Carcinogenicity study selected for AI calculation
^
 NC= Not calculated due to non-standard carcinogenicity design. Not in CPDB.
NA= Not available since controls were not reported in the study

Mode of action for carcinogenicity



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BCME is a mutagenic carcinogen, and the acceptable intake is calculated by linear extrapolation
from the TD50.

Regulatory and/or published limits

The EPA (Ref. 5) calculated an oral cancer slope factor of 220 per mg/kg/day based on linearised
multistage modelling of the inhalation study data by Kuschner (Ref. 7). The inhaled (and oral)
dose associated with a 1 in 100,000 lifetime cancer risk is 3.2 ng/day (1.6 x 10-8 mg/m3 for
inhalation, 1.6 x 10-6 mg/L for oral exposure).

Acceptable intake (AI)

Rationale for selection of study for AI calculation

BCME is an in vitro mutagen, causes cancer in animals and humans and is classified as a known
human carcinogen. Oral carcinogenicity studies were not conducted, so that intraperitoneal
injection and inhalation studies are considered as a basis for setting an AI. The most sensitive
endpoint was an increase in nasal tumors (esthesioneuroepitheliomas) in male rats in the
inhalation carcinogenicity study (Ref. 3), with a TD50 of 3.57µg/kg/day. The AI derived by
linear extrapolation from that TD50, ~4ng/day, is essentially the same as the 3.2 ng/day
recommendation of the EPA. The study (Ref. 3) had a reliable design with multiple dose levels
and >50 animals per dose group.

Evidence for tumors at other sites than those exposed by inhalation is lacking; the study cited
above (Ref. 10) that describes lung tumors in newborn mice following skin application may not
be definitive if inhalation may have occurred as a result of skin application. However, the AI
derived here from inhalation data is considered applicable to other routes, because it is highly
conservative (orders of magnitude below the default TTC of 1.5 µg/day). The AI is also similar
to the limit derived by the EPA (based on inhalation data) that is recommended both for
inhalation and ingestion (drinking water) of BCME (4 ng/day vs 3.2 ng/day).

Calculation of AI

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 3.57 µg/kg/day/50,000 x 50

Lifetime AI = 0.004 μg/day or 4 ng/day




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           p-Chloroaniline (CAS# 106-47-8) and p-Chloroaniline HCl (CAS# 20265-96-7)

Potential for human exposure

Industrial exposure is primarily derived from the dye, textile, rubber and other industries (Ref.
1). If released into the environment, it is inherently biodegradable in water under aerobic
conditions (Ref. 2).

Mutagenicity/Genotoxicity

p-Chloroaniline is mutagenic in vitro, with limited evidence for genotoxicity in vivo.

A detailed review of genotoxicity testing in a range of systems is provided by WHO (Ref. 3)
with references, so only key conclusions are summarized here.
p-Chloroaniline is mutagenic in:

      Microbial reverse mutation assay (Ames); 2 to 3-fold increase in revertants was seen in
       some laboratories but not in others.

      Positive results reported in the mouse lymphoma L5178Y cell tk assay (Ref. 3) are small
       increases, associated with substantial cytotoxicity, and do not meet the current criteria for
       a positive assay using the “global evaluation factor” (Ref. 4).

Small increases in chromosomal aberrations in Chinese hamster ovary cells were not consistent
between two laboratories.

In vivo, a single oral treatment did not induce micronuclei in mice at 180 mg/kg, but a significant
increase was reported at 300 mg/kg/day after 3 daily doses in mice.

Carcinogenicity

p-Chloroaniline is classified by IARC as Group 2B, possibly carcinogenic to humans with
adequate evidence of carcinogenicity in animals and inadequate evidence in humans (Ref. 5).

Carcinogenicity studies in animals have been conducted for p-chloroaniline or its hydrochloride
salt, p-Chloroaniline HCl.

The NTP (Ref. 6) oral gavage study was used to calculate the AI, where p-chloroaniline HCl was
carcinogenic in male rats, based on the increased incidence of spleen tumors: (Combined
incidence of sarcomas: vehicle control, 0/49; low dose, 1/50; mid dose, 3/50; high dose, 38/50).
Fibrosis of the spleen, a preneoplastic lesion that may progress to sarcomas, was seen in both
sexes (Ref. 6, 7). In female rats, splenic neoplasms were seen only in one mid-dose rat and one
high-dose rat. Increased incidences of pheochromocytoma of the adrenal gland in male and
female rats may have been related to p-chloroaniline administration; malignant
pheochromocytomas were not increased. In male mice, the incidence of hemangiosarcomas of


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the liver or spleen in high dose group was greater than that in the vehicle controls (4/50 in 0
mg/kg/day; 4/49 in 2.1 mg/kg/day; l/50 in 7.1 mg/kg/day; 10/50 in 21.4 mg/kg/day). The
incidences of hepatocellular adenomas or carcinomas (combined) were increased in dosed male
mice; of these, the numbers of hepatocellular carcinomas were (3/50 in 0 mg/kg/day; 7/49 in 2.1
mg/kg/day; 11/50 in 7.1 mg/kg/day; 17/50 in 21.4 mg/kg/day). The female mouse study was
negative. The final conclusion of NTP (Ref. 6) was that there was clear evidence of
carcinogenicity in male rats, equivocal evidence of carcinogenicity in female rats, some evidence
of carcinogenicity in male mice, and no evidence of carcinogenicity in female mice.

An earlier study used p-chloroaniline administered in feed to rats and mice (Ref. 8). Splenic
neoplasms were found in dosed male rats and hemangiomatous tumors in mice. While the
incidences of these tumors are strongly suggestive of carcinogenicity, NCI concluded that
sufficient evidence was not found to establish the carcinogenicity of p-chloroaniline in rats or
mice under the conditions of these studies. Since p-chloroaniline is unstable in feed, the animals
may have received the chemical at less than the targeted concentration (Ref. 3). Therefore, this
study is deemed inadequate.
p-Chloroaniline and p-Chloroaniline HCl – Details of carcinogenicity studies
 Study             Animals/    Duration/     Controls   Doses         Most sensitive         TD50
                   dose        Exposure                               tumor                  (mg/kg/d)
                   group                                              site/type/sex
                   50/group    103 wks       50         3:            Hepatocellular
 Ref. 6   *
                   male        5 times/ wk              3; 10; 30     adenomas or
 p-chloroaniline   B6C3F1      Gavage                   mg/kg         carcinomas
                                                                                             33.8
 HCl               mice                                 (2.1; 7.1;
                                                        21.4
                                                        mg/kg/d)
                   50/group    103 wks 5     50         3:            Negative
 Ref. 6            female      times/ wk                3; 10; 30
 p-chloroaniline   B6C3F1      Gavage                   mg/kg
                                                                                             NA
 HCl               mice                                 (2.1; 7.1;
                                                        21.4
                                                        mg/kg/d)
                   50/group    103 wks 5     50         3:            Spleen
 Ref. 6            male        times/ wk                2; 6;18       fibrosarcoma,
 p-chloroaniline   Fischer     Gavage                   mg/kg         haemangiosarcoma,
                                                                                             7.62
 HCl               344 rat                              (1.4; 4.2;    osteosarcoma
                                                        12.6
                                                        mg/kg/d)
                   50/group    103 wks       50         3:            No significant
                   female      5 times/ wk              2; 6; 18      increases; equivocal
 Ref. 6
                   Fischer     Gavage                   mg/kg (1.4;
 p-chloroaniline
                   344 rat                              4.2; 12.6                            NA
 HCl
                                                        mg/kg/d)


                   50/group    78 wks        20         2:            Mesenchymal tumors
 Ref. 8                        (study                   250; 500      (fibroma,              72
                               duration:                ppm           fibrosarcoma,


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 Study                Animals/       Duration/         Controls   Doses        Most sensitive            TD50
                      dose           Exposure                                  tumor                     (mg/kg/d)
                      group                                                    site/type/sex
                      male           102 wk)                      (7.7;        haemangiosarcoma,
                      Fischer        Diet                         15.2         osteosarcoma,
                      344 rat                                     mg/kg/d)     sarcoma not otherwise
                                                                               specified) of the
                                                                               spleen or splenic
                                                                               capsule
                      50/group       78 wks            20         2:           Negative
                      female         (study                       250; 500
 Ref. 8               Fischer        duration:                    ppm                                    NA
                      344 rat        102 wk)                      (9.6, 19
                                     Diet                         mg/kg/d)
                      50/group       78 wks            20         2:           Haemangiosarcomas
                      male           (study                       2500; 5000   (subcutaneous tissue,     Not
 Ref. 8               B6C3F1         duration:                    ppm          spleen, liver, kidney).   significant
                      mice           91 wk)                       (257;275     Increased incidence of    (CPDB)
                                     Diet                         mg/kg/d)     all vascular tumors
                      50/group       78 wks            20         2:           Haemangiosarcomas
                      female         (study                       2500; 5000   (liver and spleen).
 Ref. 8               B6C3F1         duration:                    ppm          Increased incidence of    1480
                      mice           102 wk)                      (278, 558    combined vascular
                                     Diet                         mg/kg/d)     tumors
Studies listed are in CPDB (Ref. 9)
*
  Carcinogenicity study selected for AI calculation.
NA = Not applicable

Mode of action for carcinogenicity

p-Chloroaniline induced tumors in male rats, such as spleen fibrosarcomas and osteosarcomas,
typical for anline and related chemicals. Repeated exposure to p-chloroaniline leads to cyanosis
and methemoglobinemia, followed by effects in blood, liver, spleen, and kidneys, manifested as
changes in hematological parameters, splenomegaly, and moderate to severe hemosiderosis in
spleen, liver, and kidney, partially accompanied by extramedullary hematopoiesis (Ref. 6, 8).
These effects occur secondary to excessive compound-induced hemolysis and are consistent with
a regenerative anemia (Ref. 3). The evidence supports an indirect mechanism for tumorigenesis,
secondary to methemoglobinemia, splenic fibrosis and hyperplasia (Ref. 10), and not tumor
induction related to a direct interaction of p-chloroaniline or its metabolites with DNA.
Similarly, the reported induction of micronuclei in vivo is likely to be secondary to regenerative
anemia/altered erythropoeisis, as with aniline (Ref. 11,12).

The tumor type with the lowest TD50 was spleen tumors in male rats. However, since this tumor
type is associated with a non-linear dose relation, spleen tumors were not used to calculate the
acceptable intake. Based on non-neoplastic (hematotoxic) effects, WHO (Ref. 3) recommends a
level of 2 µg/kg/day, i.e., 100 µg/day for a 50 kg human.




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Although the in vitro mutagenicity data for p-chloroaniline indicate small increases in mutations
that are not reproducible across laboratories, a mutagenic component to a mode of action for
liver tumors cannot be ruled out.

Regulatory and/or published limits

No regulatory limits have been published for p-chloroaniline or the hydrochloride salt.

Acceptable intake (AI)

Because a mutagenic component to the mode of action for male mouse liver tumors cannot be
ruled out, the AI was derived by linear extrapolation from the TD50 of 33.8 mg/kg/day for
combined numbers of adenomas and carcinomas.

Calculation of AI

Based on male mouse liver tumors for p-chloroaniline HCl

Lifetime AI = TD50/50,000 x 50kg

Lifetime AI = 33.8mg/kg/day /50,000 x 50 kg

Lifetime AI = 34 µg/day




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                1-Chloro-4-Nitrobenzene (para-Chloronitrobenzene, CAS# 100-00-5)

Potential for human exposure

Potential for exposure is in industrial use. No data are available for exposure of the general
population.

Mutagenicity/genotoxicity

Chloro-4-nitrobenzene is mutagenic and genotoxic in vitro and in vivo.

Chloro-4-nitrobenzene was mutagenic in:

      Microbial reverse mutation assay (Ames) Salmonella typhimurium strains TA100 and
       TA1535 in the presence of S9 metabolic activation, and was negative in TA1537,
       TA1538, TA98, and E.coli WP2uvrA (Ref. 1, 2, 3, 4). It was also weakly positive
       without metabolic activation in TA1535 in 2 of 4 studies (Ref. 4).

In vivo, DNA strand breaks were induced in the liver, kidney, and brain of male Swiss mice
when chloro-4-nitrobenzene was administered intraperitoneally (Ref. 5, 6).

Carcinogenicity

1-Chloro-4-nitrobenzene is classified by IARC as a Group 2 carcinogen, not classifiable as to its
carcinogenicity in humans (Ref. 7) and the EPA considers it to be a Group B2 carcinogen or
probable human carcinogen (Ref. 8).

Animal carcinogenicity studies have been conducted with 1-chloro-4-nitrobenzene by
administration in the feed to rats and mice (Ref. 9, 10) or by gavage in male rats (Ref. 12).

In a 2-year diet study (Ref. 9), there were significant increases in spleen tumors (fibroma,
fibrosarcoma, osteosarcoma and sarcoma) in rats of both sexes, and there were increases in
spleen hemangiosarcomas in both sexes, that were statistically significant in males at the mid and
high doses (7.7 and 41.2 mg/kg/day). Non-neoplastic changes of the spleen such as fibrosis, and
capsule hyperplasia were seen. An increase in adrenal medullary pheochromocytomas was seen
at the high dose that was statistically significant in females (53.8 mg/kg/day). In mice, the only
significant increase in tumors was in liver hemangiosarcomas at the high dose in females (275.2
mg/kg/day). Hematologic disturbances such as decreases in red blood cell numbers and
haematocrit, and extramedullary hematopoiesis, were seen both in rats and in mice.

In another diet study (Ref. 10), 1-chloro-4-nitrobenzene did not induce tumors in male CD-1 rats
when fed in the diet for 18 months. The concentration in the diet was adjusted during the 18-
month period due to toxicity as follows: The low dose group received 2000 ppm for the first 3
months, 250 ppm for next 2 months, and 500 ppm from 6 to 18 months; the high dose group
received 4000 ppm for the first 3 months, 500 ppm for next 2 months, and 1000 ppm from 6 to
18 months. The average daily exposure was approximately 17 and 33 mg/kg for the low and

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high dose groups, respectively. Rats were sacrificed 6 months after the last dose and examined
for tumors. No treatment-related increases in tumors were observed in the 11 tissues examined
(lung, liver, spleen, kidney, adrenal, heart, bladder, stomach, intestines, testes and pituitary).

The same laboratory (Ref. 10) also investigated the carcinogenic potential of 1-chloro-4-
nitrobenzene in male and female CD-1 mice, given in the diet for 18 months. Mice were
sacrificed 3 months after the last exposure and 12 tissues (lung, liver, spleen, kidney, adrenal,
heart, bladder, stomach, intestines, and reproductive organs) were examined for tumors. A dose-
dependent increase in vascular tumors (hemangiomas or hemangiosarcomas) of liver, lung, and
spleen was observed in both male and female mice.

In an oral study (Ref. 11), male and female Sprague-Dawley rats (n = 60) were given 1-chloro-4-
nitrobenzene by gavage 5 days/week for 24 months. In both sexes, toxicity was observed:
methemoglobinemia in mid- and high-dose groups, and hemosiderin and anemia in the high-dose
group.
1-Chloro-4-nitrobenzene – Details of carcinogenicity studies
  Study      Animals/         Duration/    Controls     Doses        Most sensitive       TD50
             dose group       Exposure                               tumor                (mg/kg/d)
                                                                     site/type/sex
             50/group male    2 years      50           3:           Spleen               173.5
             F344 rats        (Diet)                    40; 200;     hemangiosarcomas
             (SPF)                                      1000         7.7 mg/kg/d
                                                        ppm.
                                                        (1.5; 7.7;
                                                        41.2
                                                        mg/kg/d)
             50/group         2 years      50           3:           Pheochromo-          116.9**
             female F344      (Diet)                    40; 200;     cytoma/Female
             rats (SPF)                                 1000         53.8 mg/kg/d
                                                        ppm.
                                                        (1.9;
                                                        9.8;53.8
                                                        mg/kg/d)
  Ref. 9*+
             50/group male    2 years      50           3:           NA
             Crj:BDF1         (Diet)                    125;500;
             (SPF)                                      2000
                                                        ppm.
                                                        (15.3;
                                                        60.1;240.
                                                        1
                                                        mg/kg/d)
             50/group         2 years      50           3:           Hepatic              1919.9
             female           (Diet)                    125;500;     hemangiosarcomas
             Crj:BDF1                                   2000         275.2 mg/kg/d
             (SPF)                                      ppm.
                                                        (17.6;
                                                        72.6;



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                                                                275.2
                                                                mg/kg/d)
                14-15/             18 mo          16            2:            NA                    Negative˄
                group              Diet;                        Average
                male CD-1          sacrificed 6                 17 and 33
                rats               mo after                     mg/kg;
                                   last dose                     (see text)
                                                                (22.6 and
  Ref. 10                                                       45.2
                                                                mg/kg/d)
                14-20/sex          18 mo          15/sex        2:            Vascular              430˄
                group              Diet;                        M: 341;       (hemangiomas/
                CD-1 mice          sacrificed 3                 720.          hemangio-
                                   mo after                     F: 351;       sarcomas)/Male
                                   last dose                    780
                                                                mg/kg/d
                60/sex/            24 mo          Yes           3:            NA                    Negative
                group              5 d/                         0.1; 0.7;
  Ref. 11+      Sprague            wk,                          5
                Dawley rat         Gavage                       mg/kg/d

Studies listed are in CPDB (Ref. 12) unless otherwise noted..
*
  Carcinogenicity study selected for AI/PDE calculation.
**
   TD50 calculated based on carcinogenicity data (see Note 1)
+
  Not in CPDB.
˄
  Histopathology limited to 11-12 tissues.
NA = Not applicable

Mode of action for carcinogenicity

1-Chloro-4-nitrobenzene is significantly metabolized by reduction to 4-chloroaniline (p-
chloroaniline) in rats (Ref. 13), rabbits (Ref. 14) and humans (Ref. 15). p-Chloroaniline has been
shown to produce hemangiosarcomas and spleen tumors in rats and mice, similar to 1-chloro-4-
nitrobenzene (Ref. 16). Like aniline, an indirect mechanism for vascular tumorigenesis in liver
and spleen was indicated, secondary to oxidative erythrocyte injury and splenic fibrosis and
hyperplasia, both for 4-chloroaniline (Ref. 16) and 1-chloro-4-nitrobenzene (Ref. 17).
Methemoglobinemia and associated toxicity is a notable effect of 1-chloro-4-nitrobenzene. A
non-linear mechanism for tumor induction is supported by the fact that in the oral gavage study
(Ref. 11), carried out at lower doses than the diet studies (Ref. 9, 10), methemoglobinemia and
hemosiderin were seen but there was no increase in tumors.

The tumor type with the lowest TD50 was adrenal medullary pheochromocytomas in female rats
(Ref. 9). This tumor type is common as a background tumor in F344 rats, especially males, and
is seen after treatment with a number of chemicals, many of them non-mutagenic (Ref. 18). It
has been proposed that these tumors are associated with various biochemical disturbances, and
the mode of action for induction of pheochromocytomas by chemicals such as aniline and p-
chloroaniline that are toxic to red blood cells may be secondary to uncoupling of oxidative
phosphorylation (Ref. 18) or perhaps hypoxia.



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Overall, there is substantial evidence for a non-mutagenic mode of action as follows:

      The most notable types of tumors induced were those associated with
       methemoglobinemia, (spleen and vascular tumors).

      Adrenal medullary pheochromocytomas may be associated with the same perturbations.

There is clearly a non-linear dose relation (based on no-effect doses and on the negative results
of the lower-dose study (Ref. 11).

However, in mutagenicity studies in Salmonella, 1-chloro-4-nitrobenzene was mutagenic in
Salmonella TA100 and TA1535 (but not TA98 and other strains). This may indicate a
mutagenic component to the mode of action for tumor induction by 1-chloro-4-nitrobenzene, and
the pattern of mutagenicity is different from its metabolite p-chloroaniline, which was not
consistently detected as mutagenic across laboratories, and was reproducibly mutagenic only in
Salmonella TA98 with rat liver S9 (Ref. 19) indicating differences in mutagenic metabolites or
mechanism. In vivo genotoxicity data are lacking to help assess potential for a mutagenic mode
of action.

Since 1-chloro-4-nitrobenzene is mutagenic, and a mutagenic mode of action cannot be ruled
out, an AI calculation was performed.

Regulatory and/or published limits

No regulatory limits have been published, for example by EPA, WHO, or Agency for Toxic
Substances & Disease Registry (ATSDR).

Calculation of AI
The most sensitive TD50 is that for adrenal medullary pheochromocytomas in female rats (Ref.
9).

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 117 mg/kg/d /50,000 x 50 kg

Lifetime AI = 117 µg/day




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                     p-Cresidine (2-Methoxy-5-Methyl Aniline, CAS# 120-71-8)

Potential for human exposure

Potential for exposure is in industrial use. No data are available for exposure of the general
population.

Mutagenicity/Genotoxicity

p-Cresidine is mutagenic/genotoxic in vitro with equivocal evidence for genotoxicity in vivo.

p-Cresidine is mutagenic in:

      Several Salmonella strains in the presence of metabolic activation (Ref. 1, 2, 3).

      Big Blue transgenic mouse model with the lamda cII gene; p-cresidine was administered
       a diet of 0.25 and 0.5%, comparable to the doses in the carcinogenicity study, for
       180 days (Ref. 4).

In vivo, p-cresidine did not induce micronuclei in bone marrow of mice (Ref. 5. 6, 7), or in p53
heterozygous or nullizygous mice (Ref. 8). Increases in micronuclei in another study in p53
heterozygous mice may be secondary to methemobolinemia and regenerative anemia as with
aniline and related compounds (Ref. 9).

DNA strand breaks were not observed using the alkaline elution method in several tissues
including bladder (Ref. 6; 7) but DNA strand breaks assessed by the Comet assay were reported
in bladder mucosa, but not other tissues, after oral treatment of mice with p-cresidine (Ref. 10).

Carcinogenicity

p-Cresidine is classified by IARC as a Group 2B carcinogen, or possibly carcinogenic in humans
(Ref. 11).

There is only one set of carcinogenicity studies in the standard rodent model. In NTP studies
(Ref. 5) p-cresidine induced tumors in lifetime studies in Fischer 344 rats and B6C3F1 mice,
with p-cresidine administered in the feed. No carcinogenicity data are available for other routes
of exposure.

p-Cresidine was administered in the feed, to groups of 50 male and 50 female animals of each
species. There were also 50 control animals of each sex. The concentrations of p-cresidine were
0.5 or 1.0 percent in the diet, but in mice the concentrations administered were reduced after 21
weeks to 0.15 and 0.3 percent. The dose levels, converted to mg/kg/day in the CPDB (Ref. 12),
were 198 and 368 mg/kg/day for male rats; 245 and 491 mg/kg/day for female rats; 260 and 552
mg/kg/day for male mice and 281 and 563 mg/kg/day for female mice.



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All dosed animals, except for high dose male mice, were administered p-cresidine in the diet for
104 weeks and observed for an additional period of up to 2 weeks. All high dose male mice
were dead by the end of week 92. Mortality rates were dose-related for both sexes of both
species. That incidences of certain tumors were higher in low dose than in high dose groups was
probably due to accelerated mortality in the high dose groups.

In dosed rats of both sexes, statistically significant incidences of bladder carcinomas (combined
incidences of papillary carcinomas, squamous-cell carcinomas, transitional-cell papillomas,
transitional-cell carcinomas, and undifferentiated carcinomas) and olfactory neuroblastomas
were observed. The combined incidence of neoplastic nodules of the liver, hepatocellular
carcinomas, or mixed hepato/cholangio carcinomas was also significant in low dose male rats.
In both male and female dosed mice, the incidence of bladder carcinomas (combined incidence
of carcinomas, squamous-cell carcinomas, and transitional-cell carcinomas) was significant. The
incidence of hepatocellular carcinomas was significant in dosed female mice.

In summary, p-cresidine was carcinogenic to Fischer 344 rats, causing increased incidences of
carcinomas and of papillomas of the urinary bladder in both sexes, increased incidences of
olfactory neuroblastomas in both sexes, and of liver tumors in males. p-Cresidine was also
carcinogenic in B6C3F1 mice, causing carcinomas of the urinary bladders in both sexes and
hepatocellular carcinomas in females.

Induction of bladder tumors was also seen in a short-term carcinogenicity model in p53+/-
hemizygous mice. p-Cresidine was used as a positive control in a large inter-laboratory
assessment of the mouse model (Ref. 13). Increases in bladder tumors were seen in 18 of 19
studies in which p-cresidine was administered by gavage at 400 mg/kg/day for 26 weeks, and in
the single study where compound was given in feed.




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p-Cresidine – Details of carcinogenicity studies

    Study         Animals/         Duration/          Controls   Doses           Most          TD50
                  dose group       Exposure                                      sensitive     (mg/kg/d)
                                                                                 tumor
                                                                                 site/type/s
                                                                                 ex
                  50/sex/          2 year Feed        50         2:              Urinary       44.7
                  group                                          0.5 and 1%      bladder
                  B6C3F1                                         Reduced after   /Male
                  mice                                           21 wk to 0.15
    Ref. 5*                                                      and 0.3%.
                                                                 M: 260:552.
                                                                 F: 281; 563
                                                                 mg/kg/d

                  50/sex/          2 year Feed        50         0.5 and 1%      Urinary       88.4
                  group                                          M: 198;396.     bladder
    Ref. 5
                  Fisher 344                                     F: 245;491      /Male
                  rats                                           mg/kg/d
*
 Carcinogenicity study selected for AI calculation.
Studies listed are in CPDB (Ref. 12).

Mode of action for carcinogenicity

p-cresidine is a mutagenic carcinogen, and the acceptable intake is calculated by linear
extrapolation from the TD50.

Regulatory and/or published limits

No regulatory limits have been published.

Acceptable intake (AI)

Rationale for selection of study for AI calculation:

The only adequate carcinogenicity studies of p-cresidine were those reported in the CPDB and
conducted by NCI/NTP (Ref. 5). The study in mice was selected for derivation of the AI since
the most sensitive TD50 was based on urinary bladder tumors in male mice.

Calculation of AI

The most sensitive TD50 values from the NCI/NTP studies are for the urinary bladder in both
sexes of rats and mice; in rats the TD50 was 110 mg/kg/day for females and 88.4 mg/kg/day for
males; in mice the TD50 was 69 mg/kg/day for females and 44.7 mg/kg/day for males. The most
conservative value is that identified for male mice.



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The lifetime AI is calculated as follows:

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 44.7 mg/kg/day /50,000 x 50 kg

Lifetime AI = 45 μg/day




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                              Dimethylcarbamyl chloride (CAS# 79-44-7)

Potential for human exposure

Potential for exposure is in industrial use. No data are available for exposure of the general
population.

Mutagenicity/genotoxicity

Dimethylcarbamyl chloride (DMCC) is considered mutagenic and genotoxic in vitro and in vivo.

      DMCC was mutagenic in:Salmonella typhimurium TA100, TA1535, TA1537, TA98 and
       TA1538 with and without metabolic activation (Ref. 1, 2).

In vivo, positive results were seen in the micronucleus assay (Ref. 3).

Carcinogenicity

DMCC is classified by IARC as a Group 2A compound, or probably carcinogenic to humans
(Ref. 4).

No deaths from cancer were reported in a small study of workers exposed for periods ranging
from 6 months to 12 years, and there is inadequate evidence in humans for the carcinogenicity of
DMCC. There is evidence that DMCC induced tumors in rodents.

Since oral studies are lacking, the studies considered for AI derivation used inhalation and
intraperitoneal administration.

Syrian golden hamsters were exposed to 1 ppm DMCC by inhalation for 6 hours/day, 5
days/week until the end of their lives or sacrifice due to moribundity (Ref. 5). Squamous cell
carcinoma of the nasal cavity was seen in 55% of the animals whereas no spontaneous nasal
tumors were seen in the controls or historical controls. When early mortality was taken into
consideration, the percentage of tumor bearing animals was calculated to be 75% (Ref. 5).

DMCC was tested for carcinogenic activity in female ICR/Ha Swiss mice by skin application,
subcutaneous injection and intraperitoneal (i.p.) injection (Ref. 6; this study was selected to
calculate the AI). In the skin application, 2 mg of DMCC was applied 3 times a week for
492 days; this was seen to induce papillomas in 40/50 mice and carcinomas in 30/50 mice.
Subcutaneous injection once weekly was continued for 427 days at a dose of 5 mg/week.
Sarcomas and squamous cell carcinomas were seen in 36/50 and 3/50 mice, respectively, after
the subcutaneous injection. In the i.p. experiment, the mice were injected weekly with 1 mg
DMCC for a total duration of 450 days. The treatment induced papillary tumors of the lung in
14/30 animals and local malignant tumors in 9/30 animals (8/30 were sarcomas). In the control
groups, no tumors were seen by skin application, 1/50 sarcoma by subcutaneous injection, and
1/30 sarcoma and 10/30 papillary tumors of lung by i.p. injection. Overall, only the local



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(injection site) tumors were significantly increased; tumors at distant sites were not statistically
significantly increased compared with controls.


Dimethylcarbamyl chloride – Details of carcinogenicity studies
  Study            Animals/          Duration/           Controls    Doses       Tumor                TD50
                   dose group        Exposure                                    observations         (mg/kg/d)

                   30                64 wks              30          1:          Injection site:      4.59 ˄˄˄
                   female            Once/wk                         1 mg        malignant
  Ref. 6*
                   ICR/Ha            Intra-peritoneal                5.71        tumors/Female
                   Swiss mice                                        mg/kg/d
                   99                Lifetime            50 sham     1:          Squamous cell        0.625
                   male Syrian       6 h/d,              treated     1 ppm       carcinoma of nasal
  Ref. 5**         golden            5 d/wk              200         0.553       cavity
                   hamsters          Inhalation          untreated   mg/kg/d

                   50                70 wks              50          1:          Skin: Papillomas     NA˄
  Ref. 6           female            3 times/wk                      2 mg        and carcinomas/
                   ICR/Ha            Skin                                        Female
                   Swiss mice
                   50                61 wks              50          1:          Injection site:      NA˄
                   female            Once/wk                         5 mg        Fibrosarcomas;
  Ref. 6
                   ICR/Ha            Subcutaneous                                Squamous cell
                   Swiss mice                                                    carcinomas/
                                                                                 Female
                   Male              6 wks               Yes         1:          Nasal tumors/Male    NA˄˄˄˄
                   Sprague-          6 h/d,                          1 ppm
                   Dawley rats       5 d/wk
  Ref. 7
                                     Inhalation;
                                     examined at
                                     end of life
                   30-50 female      18-22 mo            Yes         2:          Skin.                NA˄
                   ICR/Ha            3 times/wk                      2 and 4.3   Mainly skin
  Ref. 8
                   Swiss mice        Skin                            mg          squamous
                                                                                 carcinoma/Female
                   Female            18-22 mo            Yes         1:          Site of              NA˄˄
                   ICR/Ha            Once/wk                         4.3 mg      administration.
                   Swiss mice        Subcutaneous                                Mainly sarcoma.
                                                                                 Hemangioma,
  Ref. 8
                                                                                 squamous
                                                                                 carcinoma and
                                                                                 papilloma also
                                                                                 seen/Female
                    Female           12 mo               Yes         2:                               NA˄˄
                    ICR/Ha           Once/wk                         0.43 and
  Ref. 8            Swiss mice       Subcutaneous;                   4.3 mg
                                     examined at
                                     end of life
Studies listed are in CPDB (Ref. 9) unless otherwise noted.


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*
 Carcinogenicity study selected for non-inhalation AI.
**
  Carcinogenicity study selected for inhalation AI.
NA= Not applicable
˄
 Did not examine all tissues histologically. Subcutaneous and skin painting studies are not included in CPDB as
route with greater likelihood of whole body exposure is considered more valuable.
˄˄
  Subcutaneous and skin painting studies are not included in CPDB as route with greater likelihood of whole body
exposure is considered more valuable.
˄˄˄
   Histopathology only on tissues that appeared abnormal at autopsy.
˄˄˄˄
    Examined only for nasal cancer. Does not meet criteria for inclusion in CPDB of exposure for at least one fourth
of the standard lifetime.

Regulatory and/or published limits

No regulatory limits have been published.

Acceptable intake (AI)

Based on the above data, DMCC is considered to be a mutagenic carcinogen. As a result, linear
extrapolation from the most sensitive TD50 in carcinogenicity studies is an appropriate method
with which to derive an acceptable risk dose. Since DMCC appears to be a site-of-contact
carcinogen, it was appropriate to derive a separate AI for inhalation exposure compared with
other routes of exposure.

No information from oral administration is available, so that for routes of exposure other than
inhalation, the study by Van Duuren et al. (Ref. 6), with administration by i.p. injection, was
used. The TD50 was 4.59 mg/kg/day based on mixed tumor incidences (CPDB).

The lifetime AI is calculated as follows:

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 4.59 mg/kg/day /50,000 x 50 kg

Lifetime AI = 5 µg/day

Inhalation AI

The inhalation AI is calculated as follows:

After inhalation of DMCC, nasal cancer in hamsters is the most sensitive endpoint and the TD50
was 0.625 mg/kg/day.

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 0.625 mg/kg/day /50,000 x 50 kg

Lifetime inhalation AI = 0.6 µg/day



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                                  Dimethyl Sulfate (CAS# 77-78-1)

Potential for human exposure

Dimethyl sulfate (DMS) is found in ambient air with mean concentration of 7.4 µg per cubic
meter or 1.4 ppb based on 1983 data compiled from a single site by the EPA (Ref. 1).

Mutagenicity/genotoxicity

DMS is mutagenic/genotoxic in vitro and in vivo (Ref. 2).

      DMS is mutagenic in:The microbial reverse mutation assay (Ames), Salmonella
       typhimurium strains TA98, TA100, TA1535, TA1537 and TA1538 with and without
       activation (Ref. 3).

In vivo, DMS forms alkylated DNA bases and is consistently positive in genotoxicity assays
(Ref. 4). Elevated levels of chromosomal aberrations have been observed in circulating
lymphocytes of workers exposed to DMS (Ref. 4).

Carcinogenicity

DMS is classified by IARC as a Group 2A carcinogen, probably carcinogenic to humans (Ref.
4).

No epidemiological studies were available for DMS although a small number of cases of human
exposure and bronchial carcinoma have been reported. DMS is carcinogenic in animals by
chronic and subchronic inhalation, and single and multiple subcutaneous injections; however,
DMS has not been tested by the oral route of exposure. DMS is carcinogenic in rats, mice, and
hamsters (Ref. 4). The carcinogenicity studies for DMS were limited for a variety of reasons and
this is likely why DMS is not listed on the CPDB. The studies evaluating carcinogenicity of
DMS are described below (excerpted from EPA, Ref. 5).




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DMS - Details of carcinogenicity studies

Study       Animals       Duration/           Controls   Doses          Tumor               TD50
                          Exposure                                      observations        (mg/kg/d)

            Golden        15 mo               Yes        2:             Tumors in lungs,    NA˄
            hamsters,     6 h/d,                         0.5; 2.0 ppm   thorax and nasal
            Wistar        2 d/wk followed                               passages at both
            rats, and     by 15 mo                                      doses
            NMRI          observation
Ref. 6      mice          period
            male and      Inhalation
            female
            (number
            not clearly
            specified)
            20-27 BD      130 days            No         2:             Squamous cell       NA˄˄
            rats          1 h/d, 5 d/wk                  3; 10 ppm      carcinoma in
            Sex not       followed by 643                               nasal epithelium
            specified     day observation                               at 3 ppm.
                          period                                        Squamous cell
                          Inhalation                                    carcinomas in
Ref. 7
                                                                        nasal epithelium
                                                                        and lympho-
                                                                        sarcoma in the
                                                                        thorax with
                                                                        metastases to the
                                                                        lung at 10 ppm.
            8-17 BD       394 days            No         2:             Injection-site      NA˄˄˄
            Rats          The duration of                8; 16          sarcomas in 7/11
            Sex not       the study was not              mg/kg/wk       at low dose and
            specified     reported but                                  4/6 at high dose;
Ref. 8
                          mean tumor                                    occasional
                          induction time                                metastases to the
                          was 500 days                                  lung. One hepatic
                          Subcutaneous                                  carcinoma.
            15 BD         Up to 740 day       No         1:             Local sarcomas      NA˄˄˄
            Rats          evaluation                     50 mg/kg       of connective
            Sex not       Following single                              tissue in 7/15
Ref. 7      specified     injection                                     rats; multiple
                          Subcutaneous                                  metastases to the
                                                                        lungs in three
                                                                        cases
            12 BD rats    800 days            No         2:             No tumors           NA˄˄˄
Ref. 7      Sex not       Once/wk                        2; 4 mg/kg     reported
            specified     Intravenous
            8 BD rats     1 year offspring    No         1:             4/59 offspring      NA˄˄˄˄
            (pregnant     observation                    20 mg/kg       had malignant
Ref. 7
            females)      following                                     tumors of the
                                                                        nervous system


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Study          Animals        Duration/             Controls      Doses             Tumor                 TD50
                              Exposure                                              observations          (mg/kg/d)

                              single dose,                                          while 2/59 had
                              gestation day 15                                      malignant hepatic
                              Intravenous                                           tumors.
               90             Duration not          Not           3:                Increase in lung      NA*
               female         reported              indicated     0.4; 1; 20        adenomas at high
Ref. 9
               CBAX57         4 h/d, 5 d/wk                       mg/m3             dose
               Bl/6 mice      Inhalation
               20 ICR/Ha      475 days              Not           1:                No findings           NA**
Ref. 10        Swiss          3 times/wk            indicated     0.1 mg
               mice¥          Dermal
Studies listed are in not in CPDB.
NA = Not applicable
˄
  Control data not reported. Tumor incidences not tabulated by species or dose.
˄˄
   Small group size. No concurrent control group. One rat at high dose had a cerebellar tumor and two at low dose
had nervous system tumors which are very rare and distant from exposure.
˄˄˄
    Small group size, no concurrent control group.
˄˄˄˄
     No concurrent control group.
* Duration not reported
** Limited number of animals. Only one dose tested. Even when DMS was combined with tumor promoters no
tumors were noted.
¥
  Sex not specified

Mode of action for carcinogenicity

Dimethyl Sulfate is a mutagenic carcinogen, and the acceptable intake is calculated by linear
extrapolation from the TD50.

Regulatory and/or published limits

The European Union (EU) Institute for Health and Consumer Protection (ECHA, Ref.11)
developed a carcinogenicity slope curve based on the inhalation carcinogenicity data for DMS.
ECHA calculated a T25 (dose that resulted in a 25% increase in tumors) using the rat inhalation
study (Ref. 7). Systemic effects (nervous system) and local nasal tumors were observed in this
limited carcinogenicity study. However, as with other studies listed, this study was severely
limited with high mortality, no control animals, only 2 dose groups and minimal pathological
evaluations; therefore, the study was not suitable for linear extrapolation.

Acceptable intake (AI)

While DMS is considered to be a likely oral carcinogen and probable human carcinogen, there
are no oral carcinogenicity studies from which to derive a TD50 value. Moreover, the inhalation
studies that are available are limited for a variety of reasons and are not suitable for TD50
extrapolation. Given this, it is reasonable to limit DMS to the threshold of toxicological concern
(TTC) lifetime level of 1.5 µg/day.

Lifetime AI = 1.5 µg/day


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                            Ethyl chloride (Chloroethane, CAS# 75-00-3)

Potential for human exposure

Low levels (parts-per-trillion) from contaminated ambient air and drinking water. Dermal
contact as a topical anesthetic.

Mutagenicity/genotoxicity

Ethyl chloride is mutagenic and genotoxic in vitro but not in vivo. IARC (Ref. 1) has reviewed
the mutagenicity data for ethyl chloride; key points are summarized here.

Ethyl chloride was mutagenic in:

      Microbial reverse mutation assay (Ames), Salmonella typhimurium strains TA100 and
       TA1535 and in Escherichia coli WP2uvrA with and without metabolic activation when
       tested in conditions that enable exposure to gas (Ref. 2, 3, 4)

      CHO cell hprt assay with and without metabolic activation

In vivo ethyl chloride was negative in a mouse bone marrow micronucleus test after inhalation at
approximately 25,000 ppm for 3 days, and in an Unscheduled DNA Synthesis (UDS) assay in
female mouse liver (Ref. 5).

Carcinogenicity

Ethyl chloride was designated by IARC as Class 3, or not classifiable as to its carcinogenicity
(Ref. 1).

Only one carcinogenicity study was found for ethyl chloride, NTP studies (Ref. 6) in rats and
mice of both sexes via inhalation for 6 h/day, 5 days/week for 100 weeks. The single exposure
concentration (15,000 ppm) tested was limited by safety concern (explosion risk) and on the lack
of obvious effect in a 3-month range-finding study up to 19,000 ppm. These data were later
assessed by the EPA (Ref. 7), comparing ethyl chloride with ethyl bromide. Ethyl chloride was
notable because, along with structurally similar ethyl bromide, it induced very high numbers of
uncommon uterine tumors (endometrial carcinomas) in mice, but not rats. Ethyl chloride
produced clear evidence of carcinogenicity in female mice (uterus) and equivocal evidence of
carcinogenicity in male and female rats. Due to poor survival, the male mouse study was
considered inadequate although there was an increased incidence of lung tumors.


Ethyl Chloride – Details of carcinogenicity studies
  Study       Animals/       Duration/     Controls    Doses        Most sensitive TD50
              dose group     Exposure                               tumor          (mg/kg/d)
                                                                    site/sex



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                 50/sex/          100 wks         50             1:             Uterus/Female      1810
                 group            6 h/d,                         M: 10.4
    Ref. 6, 7*
                 B6C3F1           5 d/wk                         F: 12.4
                 mice             Inhalation                     g/kg/d
                 50/sex/          100 wks         50             1:             Negative           NA
                 group            6 h/d,                         M: 2.01 F:
    Ref. 6, 7
                 Fischer 344      5 d/wk                         2.88
                 rats             Inhalation                     g/kg/d
Carcinogenicity study selected for AI calculation. Studies listed are in CPDB (Ref. 8).
*

NA = Not applicable

Mode of action of carcinogenicity

Holder (Ref. 7) proposes reactive metabolites may contribute to carcinogenicity, but notes
female mice have a marked stress response to ethyl chloride exposure at the high concentrations
used in the carcinogenicity study; such stress has been shown to lead to adrenal stimulation. It
was proposed that high corticosteroid production could promote development of endometrial
cancers in mice.

Regulatory and/or published limits

The EPA established an inhalation Reference Concentration (RfC) for non-carcinogenic effects
of 10 mg/m3, or 288 mg/day assuming a respiratory volume of 28,800 L/day (Ref. 9).

Acceptable intake (AI)

Rationale for selection of study for AI calculation

Although the studies are not robust in design (having a single dose group), the high level of a
specific rare type of uterine carcinoma of endometrial original in mice (43/50 affected compared
with 0/49 controls) suggest a strong carcinogenic response. The observation is supported by the
fact that the same type of tumors (mouse uterine tumors) was seen with a comparator molecule
ethyl bromide, in a more robust carcinogenicity study with 3 doses and a control (Ref. 10).

Ethyl chloride is considered to be a mutagenic carcinogen. Based on the NTP inhalation study
the most sensitive species/site is female mouse uterus. Since the number of tumors is high, it is
possible to calculate a TD50 even though only one dose was tested. The authors of the CPDB
(Ref. 8) converted 0 and 15,000 ppm to doses of 0 and 12.4 g/kg and calculated a TD50 of 1810
mg/kg/day for mouse uterine tumors.

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 1810 mg/kg/day /50,000 x 50 kg

Lifetime AI = 1,810 µg/day




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                                      Glycidol (CAS# 556-52-5)

Potential for human exposure

Heating of glycerol and sugars causes the formation of glycidol. Glycidol is a metabolite of
3-monochloropropane-1, 2-diol, a chloropropanol found in many foods and food ingredients,
including soy sauce and hydrolyzed vegetable protein. Potential daily glycidol exposure in food
has been estimated at 20-80 µg/day (Ref. 1).

Mutagenicity/genotoxicity

Glycidol is mutagenic/genotoxic in vitro and in vivo.

IARC (Ref. 2) and CCRIS (Ref. 3) contain reviews of the mutagenicity/genotoxicity data for
glycidol; key conclusions are summarized here.

Glycidol is mutagenic in:

      Microbial reverse mutation assay (Ames), Salmonella strains TA100, TA1535, TA98,
       TA97 and TA1537 both with and without rat liver S9 activation and in standard plate and
       preincubation assays.

      Escherichia coli strain WP2uvrA/pKM101 in a preincubation assay with and without rat
       liver S9.

In vivo, glycidol was positive in a mouse micronucleus assay by oral gavage in male and female
P16Ink4a/p19Arf haploinsufficient mice.

Carcinogenicity

Glycidol is classified by IARC as Group 2A, or probably carcinogenic in humans (Ref. 2).

In NTP studies (Ref. 4, 5), glycidol was administered by gavage in water to male and female
F344/N rats and B6C3F1 mice. Rats received 0, 37.5, or 75 mg/kg and mice received 0, 25, or
50 mg/kg daily, 5 days per week for 2 years. The average daily doses were calculated by
multiplying the administered dose by 5/7 to account for the 5 days per week dosing schedule and
103/104 to account for the less-than-lifetime duration of dosing. The resulting average daily
doses were 0, 26.5, and 53.1 mg/kg/day in male and female rats, and 0, 17.7, and 35.4 mg/kg/day
in male and female mice.

Exposure to glycidol was associated with dose-related increases in the incidences of neoplasms
in various tissues in both rats (mammary gland tumors in females), and mice (Harderian gland).
Survival of treated rats and mice was markedly reduced compared to controls because of the
early induction of neoplastic disease.



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The oral gavage study in hamsters was less robust due to small group size, single dose levels and
shorter duration. Further oral gavage chronic studies with glycidol were conducted by the NTP
in genetically modified mice lacking two tumor suppressor genes (i.e., haploinsufficient
p16Ink4a/p19Arf mice) (Ref. 6). Although there was clear evidence of carcinogenic activity in
males (based on the occurrence of histiocytic sarcomas and alveolar/bronchiolar adenomas) and
some evidence of carcinogenic activity in female mice (based on the occurrence of
alveolar/bronchiolar adenomas), these studies are considered less suitable for dose-response
assessment than the two-year bioassays (Ref. 5) for reasons including the short duration, the
small number of animals used per treatment group, and limited understanding of how dose-
response relationships observed in genetically modified animals correspond with those observed
in standard long-term carcinogenicity bioassays (Ref. 7).


Glycidol – Details of carcinogenicity studies
  Study          Animals/        Duration/          Controls       Doses          Most sensitive        TD50
                 dose group      Exposure                                         tumor                 (mg/kg/d)
                                                                                  site/sex
                 50/sex/         2 years            50             2:             Mammary               4.15
                 group           5 d/wk                            26.5; 53.8     gland/Female
  Ref. 5*        F344/N          Oral gavage                       mg/kg/d
                 rats
                 50/sex/         2 years            50             2:             Harderian gland       32.9
                 group           5 d/wk                            17.7; 35.4     /Female
  Ref. 5
                 B6C3F1          Oral gavage                       mg/kg/d
                 mice
                 12-20/          60 wks             Yes            1:             Spleen/Female         56.1˄
                 sex/group       Twice/wk                          M: 15.8
  Ref. 8         Syrian          Gavage                            F: 17.9
                 Golden                                            mg/kg/d
                 Hamsters
                 20              520 days           Yes            1:             No Tumors             NA˄
  Ref. 9         ICR/Ha          3 times/wk                        5%
  (**Cited in    Swiss mice      Skin Painting
  Ref. 2)

Studies listed are in CPDB (Ref. 10) unless otherwise noted.
*
  Carcinogenicity study selected for AI calculation.
**
   Not in CPDB.
NA= Not applicable.
˄
  Not a standard carcinogenicity design. Only one dose, intermittent dosing, and small sample size (Ref.7).

Mode of action of carcinogenicity

Glycidol is a mutagenic carcinogen, and the acceptable intake is calculated by linear
extrapolation from the TD50.




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Regulatory and/or published limits

No regulatory limits have been published, for example by the EPA, WHO, or ATSDR.

Acceptable intake (AI)

Rationale for selection of study for AI calculation

The most suitable carcinogenicity data for human cancer potency assessment come from the two-
year oral studies conducted in F344/N rats and B6C3F1 mice by NTP (Ref. 5). The most
sensitive organ site was female mammary glands with a TD50 of 4.15 mg/kg/d.

Calculation of AI:

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 4.15 (mg/kg/d)/50,000 x 50 kg

Lifetime AI = 4 µg/day




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                                      Hydrazine (CAS# 302-01-2)

Potential for human exposure

Hydrazine is used in the synthesis of pharmaceuticals, pesticides and plastic foams (Ref. 1).
Hydrazine sulphate has been used in the treatment of tuberculosis, sickle cell anemia and other
chronic illnesses (Ref. 2). There is limited information on the natural occurrence of hydrazine
and derivatives (Ref. 3). Humans may be exposed to hydrazine from environmental
contamination of water, air and soil (Ref. 1); however, the main source of human exposure is in
the workplace (Ref. 4). Small amounts of hydrazine have also been reported in tobacco products
and cigarette smoke (Ref. 1, 5).

Mutagenicity/genotoxicity

Hydrazine is mutagenic and genotoxic in vitro and in vivo.

IARC (Ref. 6) has reviewed the mutagenicity of hydrazine. Key observations are summarized
here.

Hydrazine was mutagenic in:

      Microbial reverse mutation assay (Ames), Salmonella typhimurium strains TA 1535, TA
       102, TA 98 and TA 100, and in Escherichia coli strain WP2 uvrA, with and without
       activation

      In vitro mouse lymphoma L5178Y cells, in tk and hprt genes

In vivo, (Ref. 6) hydrazine induced micronuclei but not chromosome aberrations in mouse bone
marrow. DNA adducts have been reported in several tissues in vivo.

Carcinogenicity

Hydrazine is classified by IARC as Group 2B, or possibly carcinogenic to humans (Ref. 6) and
by EPA as Group B2 or a probable human carcinogen (Ref. 7).
There are seven hydrazine carcinogenicity studies cited in the CPDB (Ref. 8): Three inhalation
studies that included 1-year dosing duration, three studies in drinking water and one by oral
gavage. Five of the seven hydrazine carcinogenicity studies were deemed positive by the authors
of the original reports.

The main target organs for oral carcinogenicity of hydrazine in rodents are the liver and lungs.
The most robust oral studies based on group size and dose levels were published in Refs. 9 and
10. The most robust inhalation study with the lowest TD50 is in Ref. 11. The most sensitive
tumor targets for inhalation carcinogenicity of hydrazine in rodents are sites of initial contact
such as the nasal cavity and lungs.




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The studies done on hydrazine sulphate in the CPDB (Ref. 8) are not shown here as they
included <50 animals per group (and a single dose level in one case), and the calculated TD50
values were higher (less potent) than those for the drinking water study of hydrazine (Ref. 9).
Given the similarity between the outcomes from the two robust drinking water studies (Ref. 9,
10), the more recent study with the higher tested doses (Ref. 10) was selected for the non-
inhalation AI calculation for hydrazine.
Hydrazine – Details of carcinogenicity studies
  Study        Animals/          Duration/     Controls     Doses            Most sensitive TD50
               dose group        Exposure                                    tumor          (mg/kg/d)
                                                                             site/type/sex
               50/sex/ group     Lifetime      50           3:               Liver/Female   41.6
               Wistar rats       Drinking                   M: 0.1; 1.5,
  Ref. 9                         water                      2.5.
                                                            F: 0.11, 0.57,
                                                            2.86 mg/kg/d
               100/sex/ group    1 year with   150          4:               Nasal          0.194
               F344 rats         18 mo                      M:1.37, 6.87,    adenamatous
                                 observation                27.5, 137        polyps/Male
  Ref. 11*
                                 Inhalation                 F: 1.96, 9.81,
                                                            39.3, 196
                                                            µg/kg/d
               50/sex/ group     2 year        50           3:               Negative       NA,
               Bor:NMRI,         Drinking                   M: 0.33,                        negative
  Ref. 12      SPF-bred          water                      1.67, 8.33.                     study
               NMRI mice                                    F: 0.4, 2.0,
                                                            10.0 mg/kg/d
               200               1 year with   Yes          3:               Nasal          4.16
               male Golden       12 mo                      0.02, 0.08,      adenomatous
  Ref. 11
               Syrian            observation                0.41 mg/kg/d     polyps/Male
               hamsters          Inhalation
               400 female        1 year with   Yes          1:               Negative       NA
               C57BL/6           15 mo                      0.18 mg/kg/d
  Ref. 11
               Mice              observation
                                 Inhalation
               50/sex/ group     Lifetime      Not          1:               Lung/Male      2.20¥
  Ref. 13      Swiss mice        Drinking      concurrent   ~1.7-2
                                 water                      mg/kg/d
               25                40 wks        85           1:               Lung/Female    5.67¥¥
  Ref. 14      female Swiss      5d/wk         Untreated    ~5 mg/kg/d
               mice              Gavage
               50/sex/           Lifetime      Yes          3:               Liver/Female   38.7
               F344/DuCrj        Drinking                   M: 0.97,
               rats              water                      1.84, 3.86
  Ref. 10**^
                                                            F:1.28, 2.50,
                                                            5.35
                                                            mg/kg/d




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                 50/sex              Lifetime                        3:                 Liver/Female   52.4
                 Crj:BDF1            Drinking                        M: 1.44,
                 mice                water                           2.65, 4.93
  Ref. 10^
                                                                     F: 3.54, 6.80,
                                                                     11.45
                                                                     mg/kg/d
Studies listed are in CPDB (Ref. 8).
*
  Carcinogenicity study selected for inhalation AI calculation.
**
   Carcinogenicity study selected for non-inhalation TD50 (see Note 2) and AI calculations.
NA= Not applicable.
¥
  Excluded by EPA (Ref. 7); no concurrent controls. Liver negative.
¥¥
   Animal survival affected. Liver negative.
^
 Not in CPDB

Mode of action of carcinogenicity

Not defined. DNA adducts have been detected in vivo, (Ref. 15, 16, 17, 18, 19, 20) although
they are reported in tissues that do not develop tumors, so their contribution to tumorigenicity is
not known.

Regulatory and/or published limits

The EPA (Ref. 7) has published an oral slope factor of 3.0 per mg/kg/day and a drinking water
unit risk of 8.5 x 10-5 per µg/L. At the 1 in 100,000 risk level, this equates to a concentration of
0.1 µg of hydrazine/L of water or ~0.2 µg/day for a 50 kg/human. This limit is a linearized
multistage extrapolation based on the observation of hepatomas in a multi-dose gavage study
(Ref. 21) where hydrazine sulfate was administered to mice for 25 weeks followed by
observation throughout their lifetime (Ref. 7). Additional studies were identified that were
published after the oral slope factor was calculated (Ref. 9, 10, 17, 22). These studies could
potentially produce a change in the oral slope factor but it has not yet been re-evaluated by the
EPA.

The EPA (Ref. 7) has also published an inhalation slope factor of 17 per mg/kg/day and an
inhalation unit risk of 4.9x10-3 per µg/m3. At the 1 in 100,000 risk level, this equates to an air
concentration of 2 x 10-3 µg/m3 of hydrazine or 0.04 µg/day assuming a person breathes
20 m3/day. This limit is a linearized multistage extrapolation based on the observation of nasal
cavity adenoma or adenocarcinoma in male rats in a multi-dose inhalation study where hydrazine
was administered 6 hours/day, 5 days/week for 1 year followed by an 18-month observation
period (cited in Ref. 7). Only the EPA review of this data was accessible; however, the results
appear to be very similar to, if not the same as, those of Vernot (Ref. 11).

Acceptable intake (AI)

Rationale for selection of study for AI calculation

Both oral and inhalation carcinogenicity studies for hydrazine were reviewed to determine if a
separate limit is required specific for inhalation carcinogenicity. Given the more potent



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carcinogenicity specific to the first site-of-contact observed in inhalation studies, it was
determined that a separate AI for inhalation exposure was appropriate.

For oral hydrazine, carcinogenicity has been reported in 4 mouse studies and 2 rat studies. The
most sensitive effect in the oral studies was based on hepatocellular adenomas and carcinomas of
the liver in female rats (Ref. 10).

All of the inhalation carcinogenicity studies that were used by the EPA in the derivation of the
inhalation carcinogenicity limit for hydrazine were taken into consideration when selecting the
most robust carcinogenicity study for the derivation of an AI for inhaled pharmaceuticals. The
critical study by MacEwen used by the EPA (Ref. 7) was proprietary, but is likely the same one
described in Vernot (Ref. 11). Given that the TTC was derived via linear extrapolation from
TD50 values for hundreds of carcinogens, that same approach was used in the derivation of a
compound-specific AI for hydrazine. The methodology used by the EPA and the method used
here are both highly conservative in nature. However, given that the methodologies do differ, it
is reasonable to expect some slight differences. The AI was calculated based on the TD50
derived from a study in which male and female rats were administered hydrazine via inhalation
for one year with an 18-month observation period (Ref. 11). While a 1-year study is not a
standard design for carcinogenicity, a positive response was observed demonstrating that the
window for carcinogenicity was not missed. The most sensitive target tissue was the male nasal
region, with a TD50 value of 0.194 mg/kg/day, after being adjusted, as standard practice, to
account for 1 vs 2 years of exposure.

Calculation of AI

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 38.7 (mg/kg/day)/50,000 x 50 kg

Lifetime AI = 39 µg/day

Calculation of inhalation AI

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 0.194 (mg/kg/day)/50,000 x 50 kg

Lifetime inhalation AI = 0.2 µg/day




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                                Hydrogen Peroxide (CAS# 7722-84-1)

Potential for human exposure

Hydrogen peroxide can be present in green tea and instant coffee, in fresh fruits and vegetables
and naturally produced in the body (Ref. 1). It is estimated up to 6.8 g is produced endogenously
per day (Ref. 2). Other common sources of exposure are from disinfectants, some topical cream
acne products, and oral care products which can contain up to 4% hydrogen peroxide (Ref. 2).

Mutagenicity/genotoxicity

Hydrogen peroxide is mutagenic and genotoxic in vitro but not in vivo.

IARC (Ref. 3) and European Commission Joint Research Centre (Ref. 4) reviewed the
mutagenicity data for hydrogen peroxide, and key observations are summarized here.

Hydrogen peroxide is mutagenic in:

      Salmonella typhimurium strains TA96, TA97, SB1106p, SB1106, and SB1111 and

      L5178Y mouse lymphoma cell sublines at the hprt locus

      Chinese hamster V79 cells at the hprt locus, in only one of six studies

In vivo, micronuclei were not induced after administration of hydrogen peroxide to mice
intraperitoneally at up to 1,000 mg/kg, or to catalase-deficient C57BL/6NCr1BR mice in
drinking water at 200, 1,000, 3,000, and 6,000 ppm for two weeks.

Carcinogenicity

Hydrogen peroxide is classified by IARC as Group 3, not classifiable as to its carcinogenicity to
humans (Ref. 3).

There is only one carcinogenicity report (Ref. 5) cited in the CPDB (Ref. 6), in which mice were
treated with hydrogen peroxide in drinking water at 0.1 or 0.4% for approximately 2 years. The
study included two treatment groups and about 50 animals per dose group. Statistically
significant increases in tumors of the duodenum (p<0.005) were observed in both dose groups in
the mouse carcinogenicity study (Ref. 5) although only the duodenal tumors at the high dose in
females are noted as significant in the CPDB (Ref. 6). Thus, 0.1% hydrogen peroxide
administered in drinking water was defined as the Lowest Observed Adverse Effect Level
(LOAEL), equivalent to an average daily dose-rate per kg body weight per day of 167
mg/kg/day.

Studies of 6-month duration or longer are summarised in the following table (adapted from Ref.
2); they are limited in the numbers of animals and used a single dose level. Most studies did not


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meet the criteria for inclusion with a TD50 calculation in the CPDB. DeSesso (Ref. 2) noted that,
out of 14 carcinogenicity studies (2 subcutaneous studies in mice, 2 dermal studies in mice, 6
drinking water studies [2 in rats and 4 in mice], 1 oral intubation study in hamsters, and 3 buccal
pouch studies), only 3 mouse drinking water studies (Ref. 5, 8, 9) demonstrated increases in
tumors (of the proximal duodenum) with hydrogen peroxide. These mouse studies were
thoroughly evaluated by the Cancer Assessment Committee (CAC) of the FDA (Ref. 10). The
conclusion was that the studies did not provide sufficient evidence that hydrogen peroxide is a
carcinogen (Ref. 10).

In Europe, the Scientific Committee on Consumer Products reviewed the available data for
hydrogen peroxide and concluded that hydrogen peroxide did not meet the definition of a
mutagen (Ref.11) They also stated that the weak potential for local carcinogenic effects has an
unclear mode of action, but a genotoxic mechanism could not be excluded (Ref. 11). In contrast,
DeSesso (Ref. 2) suggested that dilute hydrogen peroxide would decompose before reaching the
target site (duodenum) and that the hyperplastic lesions seen were due to irritation from food
pellets accompanying a decrease in water consumption, which is often noted with exposure to
hydrogen peroxide in drinking water. The lack of a direct effect is supported by the lack of
tumors in tissues directly exposed via drinking water (mouth, oesophagus and stomach), and the
fact that in studies up to 6 months in the hamster (Ref. 14), in which hydrogen peroxide was
administered by gastric intubation (water intake was not affected), the stomach and duodenal
epithelia appeared normal; this was the basis for the FDA conclusion above (Ref. 10).
Hydrogen Peroxide – Details of oral carcinogenicity studies
  Study     Animals/               Duration/    Controls   Doses           Notes
            dose group             Exposure
            48-51/sex/ group       100 wks      Yes        2:              TD50 7.54 g/kg/d
            C57BL/6J mice          Drinking                0.1; 0.4%       for female duodenal
  Ref. 5*                          water                   M: 167; 667     carcinoma
                                                           F: 200; 800
                                                           mg/kg/d
            29 mice                700 days     No         1:              No tumors reported. Time-
            C57BL/6J               Drinking                0.4%            dependent induction of
            total male & female    water                                   erosions and nodules in
            (additional groups                                             stomach and nodules and
            sampled at intervals                                           plaques in duodenum.
  Ref. 7    from 7 to 630 days                                             After a recovery period
            of treatment; or 10                                            following 140 days of
            – 30 days after                                                H2O2 treatment, by 10 to
            cessation of                                                   30 days without treatment
            treatment at 140                                               there were fewer mice with
            days)                                                          lesions.
            18 C3H/HeN             6 mo         No         1:              2 mice with duodenal
  Ref. 8    mice                   Drinking                0.4%            tumors (11.1%)
            total male & female    water
            22                     6 mo         No         1:              7 mice with duodenal
  Ref. 8    B6C3F1 mice            Drinking                0.4%            tumors (31.8%)
            total male & female    water



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              21 C57BL/6N ¢            7 mo            No           1:           21 mice with duodenal
    Ref. 8    mice                     Drinking                     0.4%         tumors (100%)
              total male & female      water
              24 C3HCb/s ¢             6 mo            No           0.4% only    22 mice with duodenal
    Ref. 8    mice                     Drinking                                  tumors (91.7%).
              total male & female      water
              21 female                6 mo            11           1:           2 mice with duodenal
    Ref. 9    C3H/HeN mice             Drinking                     0.4%         tumors (9.5%).
                                       water                                     None in controls.
              22 female B6C3F1         6 mo            12           1:           7 mice with duodenal
    Ref. 9    Mice                     Drinking                     0.4%         tumors (31.8%).
                                       water                                     None in controls.
              24 female                6 mo            28           1:           22 mice with duodenal
    Ref. 9    C3HCb/s ¢ mice           Drinking                     0.4%         tumors (91.7%).
                                       water                                     None in controls.
              3 male rats              21 wks          3            1:           No tumorigenic effect
    Ref. 12                            Drinking                     1.5%         observed.
                                       water
              Male and female          2 years         Yes          2:           No tumorigenic effect
    Ref. 13   rats (50/sex/group)      Drinking                     0.3%         observed.
                                       water                        0.6%
              Hamsters, sex not        15 wks and      Yes          1:           No tumorigenic effect
              reported (20/group)      6 mo                         70 mg/kg/d   observed.
    Ref. 14
                                       Oral gavage
                                       (5 d/wk)
*
 Carcinogenicity study selected for PDE calculation; in CPDB (Ref. 6).
All other studies are not in the CPDB but are summarized in Ref. 2
¢ Catalase deficient


Mode of action for carcinogenicity

Hydrogen peroxide is one of the reactive oxygen species (ROS) that is formed as part of normal
cellular metabolism (Ref. 4). The toxicity of hydrogen peroxide is attributed to the production of
ROS and subsequent oxidative damage resulting in cytotoxicity, DNA strand breaks and
genotoxicity (Ref. 15). Due to the inevitable endogenous production of ROS, the body has
evolved defense mechanisms to limit their levels, involving catalase, superoxide dismutases and
glutathione peroxidase.

Oxidative stress occurs when the body's natural antioxidant defense mechanisms are exceeded,
causing damage to macromolecules such as DNA, proteins and lipids. ROS also inactivate
antioxidant enzymes, further enhancing their damaging effects (Ref. 16). During mitochondrial
respiration, oxygen undergoes single electron transfer, generating the superoxide anion radical.
This molecule shows limited reactivity but is converted to hydrogen peroxide by the enzyme
superoxide dismutase. Hydrogen peroxide is then reduced to water and oxygen by catalase and
glutathione peroxidase (Ref. 17). However, in the presence of transition metals, such as iron and
copper, hydrogen peroxide is reduced further to extremely reactive hydroxyl radicals. They are
so reactive they do not diffuse more than one or two molecular diameters before reacting with a
cellular component (Ref. 16). Therefore, they must be generated immediately adjacent to DNA


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to oxidize it. Antioxidants provide a source of electrons that reduce hydroxyl radicals back to
water, thereby quenching their reactivity. Clearly, antioxidants and other cellular defenses that
protect against oxidative damage are limited within an in vitro test system. Consequently,
following treatment with hydrogen peroxide these protective mechanisms are readily
overwhelmed inducing cytotoxicity and genotoxicity in bacterial and mammalian cell lines.
Diminution of the in vitro response has been demonstrated by introducing elements of the
protective mechanisms operating in the body; for example, introducing hydrogen peroxide
degrading enzymes, such as catalase or adjusting the level of transition metals (Ref. 11).
Unsurprisingly, in vivo, where the cellular defense mechanisms are intact, hydrogen peroxide is
not genotoxic following short-term exposure. This suggests that a threshold exists below which
the cellular defense mechanisms can regulate ROS maintaining homeostasis.

Based on the comprehensive European Commission (EC, Ref. 4) risk assessment, the weight of
evidence suggests hydrogen peroxide is mutagenic in vitro when protective mechanisms are
overwhelmed. However, it is not genotoxic in standard assays in vivo. Its mode of action has a
non-linear, threshold effect.

Regulatory and/or published limits

Annex III of the European Cosmetic Regulation (Ref. 18) provided acceptable levels of
hydrogen peroxide in oral hygiene and tooth whitening products. For oral products sold over the
counter, including mouth rinse, toothpaste and tooth whitening or bleaching products, the
maximum concentrations of hydrogen peroxide allowed (present or released) is 0.1%. Higher
levels up to 6% are also permitted providing products are prescribed by dental practitioners to
persons over 18 years old. The EC SCCP (Ref. 11) estimated that 3 g of mouthwash or 0.48 g of
toothpaste could be ingested per day. With 0.1% hydrogen peroxide in the product, the amount
of hydrogen peroxide potentially ingested would be 3 mg from mouthwash or 0.48 mg from
toothpaste. These values may overestimate ingestion as it is likely that most of the hydrogen
peroxide is decomposed during use of oral care products and is not ingested (Ref. 4).

FDA - hydrogen peroxide is Generally Recognized As Safe (GRAS) up to 3% for long-term over
the counter use as an anti-gingivitis/anti-plaque agent (Ref. 19).

Permissible daily exposure (PDE)

Hydrogen peroxide is genotoxic via a mode of action with a threshold (i.e., oxidative stress) and
is endogenously produced in the body at high levels that exceed the levels encountered in oral
care and other personal care products. Therefore it was not considered appropriate to derive a
PDE based on carcinogenicity data. Even an intake 1% of the estimated endogenous production
of 6.8 g/day, that is, 68 mg/day (or 68,000 µg/day) would not significantly add to background
exposure, but would usually exceed limits based on quality, in a pharmaceutical. The ICH M7
guidance notes that when calculating acceptable intakes from compound-specific risk
assessments, an upper limit would be determined by a quality limit of 0.5%, or, for example, 500
µg in a drug with a maximum daily dose of 100 mg.




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                           Methyl chloride (Chloromethane, CAS# 74-87-3)

Potential for human exposure

Low levels of methyl chloride occur in the environment, since thousands of tons of methyl
chloride are produced naturally every day, e.g., by marine phytoplankton, by microbial
fermentation, and from biomass fires (burning in grasslands and forest fires) and volcanoes,
greatly exceeding release from human activities.

WHO (Ref. 1) reports that the methyl chloride concentration in the air in rural sites is in general
below 2.1 µg/m3 (1.0 ppb) while in urban cities it is equal to 0.27 to 35 µg/m3 (0.13-17 ppb),
corresponding to approximately 20-700 µg daily intake (human respiratory volume of 20 m3 per
day). A wide range of concentrations is reported in rivers, ocean water, ground water and
drinking water, with the maximum drinking water level reported at 44 µg/L in a well sample
(Ref. 1).

Mutagenicity/Genotoxicity

Methyl chloride is mutagenic and genotoxic in vitro but equivocal in vivo. WHO (Ref. 1) and
the EPA (Ref. 2) reviewed the mutagenicity data for methyl chloride; key observations are
summarized here.

Methyl chloride is mutagenic in:

      Microbial reverse mutation assay (Ames), Salmonella typhimurium TA100, TA1535 and
       in Escherichia coli WP2uvrA both in the presence and absence of metabolic activation

      TK6 human lymphoblasts

In vivo, WHO (Ref. 1) concluded that “though data from standard in vivo genotoxicity studies
are not available, methyl chloride might be considered a very weak mutagen in vivo based on
some evidence of DNA–protein crosslinking at higher doses.”

Carcinogenicity

Methyl chloride is classified by IARC as Group 3: “Inadequate evidence for the carcinogenicity
to humans” (Ref. 3), and by the EPA as a Category D compound not classifiable as to human
carcinogenicity (Ref. 2).

In animals, the only evidence of carcinogenicity comes from a single 2-year bioassay that used
the inhalation route of administration in rats and mice (Ref. 4). A statistically significant
increased incidence of renal benign and malignant tumors was observed only in male B6C3F1
mice at the high concentration (1,000 ppm). Although not of statistical significance, cortical
adenoma was also seen at 464 mg/m3 (225 ppm), and development of renal cortical microcysts in
mice was seen in the 103 mg/m3 (50 ppm) dose group and to some extent in the 464 mg/m3 (225


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ppm) group (Ref. 4). However, no concentration–response relationship could be established.
Renal cortical tubuloepithelial hyperplasia and karyomegaly were also confined to the 1,000-
ppm group of male mice. Neoplasias were not found at lower concentrations or at any other site
in the male mouse, or at any site or concentration in female mice or F-344 rats of either sex.
Renal adenocarcinomas have been shown to occur only in male mice at a level of exposure
unlikely to be encountered by people.

These renal tumors of the male mouse are not likely to be relevant to humans. Methyl chloride is
metabolized by glutathione conjugation and to a lesser extent by p450 oxidation (Ref. 1, 2).
Renal tumors in male mouse are thought to be related to the production of formaldehyde during
methyl chloride metabolism. The cytochrome P-450 (CYP) isozyme believed to be responsible,
CYP2E1, is present in male mouse kidney and is androgen-dependent; female mice had CYP2E1
levels only 20-25% of those in males. Generation of formaldehyde has been demonstrated in
renal microsomes of male CD-1 mice that exceed that of naive (androgen-untreated) female
mice, whereas kidney microsomes from the rat did not generate formaldehyde. Additionally,
species-specific metabolic differences in how the kidney processes methyl chloride strongly
suggest that renal mouse neoplasms via P-450 oxidation are not biologically relevant to humans
given that human kidney lacks the key enzyme (CYP2E1) known to convert methyl chloride to
toxic intermediates having carcinogenic potential. In the rat, renal activity of CYP2E1 was very
low. No CYP2E1 activity was detected in human kidney microsomal samples (Ref. 2), nor was
it detected in freshly isolated proximal tubular cells from human kidney. CYP4A11 was
detected in human kidney, but its ability to metabolize methyl chloride is unknown. In addition
to CYP4A11, the only other P-450 enzymes found at significant levels in human renal
microsomes are CYP4F2 and CYP3A. Moreover, no commonly known environmental
chemicals appear to be metabolized by the CYP4A family. The lack of detectable CYP2E1
protein in human kidney (in contrast to mice, which have high levels) suggests that the
metabolism of methyl chloride by P450 (presumably leading to elevated formaldehyde
concentrations) that is likely responsible for the induction of male mouse kidney tumors are not
likely relevant to humans.

However, as highlighted by the EPA (Ref. 2) and WHO (Ref. 1), the role of hepatic (and/or
kidney) metabolism (leading to potential genotoxic metabolites) via the predominant glutathione
(GSH)-dependent pathway (metabolism of methyl chloride to formate in liver is GSH-dependent,
via the GSH-requiring formaldehyde dehydrogenase that oxidizes formaldehyde to formate) or
even by P450 isozymes other than CYP2E1 in this regard cannot be discounted. Nonetheless,
production of formaldehyde via low doses of methyl chloride would be negligible compared with
the basal formation of formaldehyde in the body (i.e., 878–1310 mg/kg/day; Ref. 5). In addition,
based on the limitations of human relevance, the EPA classified methyl chloride as a group D
compound, that is “Not Classifiable as to Human Carcinogenicity.”




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Methyl Chloride – Details of carcinogenicity studies (only inhalation studies available)

 Study         Animals/            Duration/ Controls Doses                   Most sensitive   TD50
               dose                Exposure                                   tumor            (mg/kg/d)
               group                                                          site/sex
               120/sex/            24 mo           Yes           3:           Kidney tumors    1,360.7**
 Ref. 4        group               6 h/d, 5                      103; 464;    in males only.
 (summarized B6C3F1                d/wk                          2064         No finding in
 in Ref. 1 and mice                Inhalation                    mg/m3 (50;   females.
 Ref. 2)*                                                        225; 1000
                                                                 ppm)
               120/sex/            24 mo 6         Yes           3:           No findings in   NA
               group               h/d,                          103; 464;    males and
 Ref. 4        Fisher              5d/wk                         2064         females
 (summarized 344 rats              Inhalation                    mg/m3 (50;
 in Ref. 1 and                                                   225; 1000
 Ref. 2)                                                         ppm)


Note: Studies not listed in CPDB.
*
  Carcinogenicity study selected for AI calculation.
**
   TD50 calculated based on carcinogenicity data (see Note 3).
NA = Not applicable

Regulatory and/or published limits

WHO (Ref. 1) developed a guidance value for the general population of 0.018 mg/m3 and the
EPA (Ref. 2) developed a reference concentration of 0.09 mg/m3. Both were based on the
potential for adverse CNS effects following inhaled methyl chloride.

Acceptable intake (AI)

While the data indicate the tumors observed in male mice are likely not relevant to humans, an
AI was developed because of the uncertainties in data.

Lifetime AI = TD50/50,000 x 50 kg

Lifetime AI = 1,360.7 mg/kg/day /50,000 x 50 kg

Lifetime AI = 1,361 μg/day




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The TD50 can then be calculated as follows.

                                   0.5 = 1 − exp(−𝛽 · 𝑇𝐷50 )

Solving for TD50 results in in the following equation.

                                                  0.693
                                         𝑇𝐷50 =
                                                    𝛽

Therefore, the TD50 = 0.693 / 0.0059302912 or 116.9 mg/kg/day.




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The TD50 can then be calculated as follows.

                                   0.5 = 1 − exp(−𝛽 · 𝑇𝐷50 )

Solving for TD50 results in in the following equation.

                                                  0.693
                                         𝑇𝐷50 =
                                                    𝛽

Therefore, the TD50 = 0.693 / 0.0179164668 or 38.7 mg/kg/day.




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The TD50 can then be calculated as follows.

                                   0.5 = 1 − exp(−𝛽 · 𝑇𝐷50 )

Solving for TD50 results in in the following equation.

                                                  0.693
                                         𝑇𝐷50 =
                                                    𝛽

Therefore, the TD50 = 0.693 / 0.0005092936 or 1360.7 mg/kg/day.




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                                           GLOSSARY
Acceptable intake:
In the context of this guidance, an intake level that poses negligible cancer risk, or for
serious/life-threatening indications where risk and benefit are appropriately balanced.

Acceptable limit:
Maximum acceptable concentration of an impurity in a drug substance or drug product derived
from the acceptable intake and the daily dose of the drug.

Acceptance criterion:
Numerical limits, ranges, or other suitable measures for acceptance of the results of analytical
procedures.

Control strategy:
A planned set of controls, derived from current product and process understanding that ensures
process performance and product quality. The controls can include parameters and attributes
related to drug substance and drug product materials and components, facility and equipment
operating conditions, in-process controls, finished product specifications, and the associated
methods and frequency of monitoring and control.

Cumulative intake:
The total intake of a substance that a person is exposed to over time.

Degradation Product:
A molecule resulting from a chemical change in the drug molecule brought about over time
and/or by the action of light, temperature, pH, water, or by reaction with an excipient and/or the
immediate container/closure system.

DNA-reactive:
The potential to induce direct DNA damage through chemical reaction with DNA.

Expert knowledge:
In the context of this guidance, expert knowledge can be defined as a review of pre-existing data
and the use of any other relevant information to evaluate the accuracy of an in silico model
prediction for mutagenicity.

Genotoxicity:
A broad term that refers to any deleterious change in the genetic material regardless of the
mechanism by which the change is induced.

Impurity:
Any component of the drug substance or drug product that is not the drug substance or an
excipient.

Mutagenic impurity:



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An impurity that has been demonstrated to be mutagenic in an appropriate mutagenicity test
model, e.g., bacterial mutagenicity assay.

Periodic verification testing:
Also known as periodic or skip testing in ICH Q6A.

(Q)SAR and SAR:
In the context of this guidance, refers to the relationship between the molecular (sub) structure of
a compound and its mutagenic activity using (Quantitative) Structure-Activity Relationships
derived from experimental data.

Purge factor:
Purge reflects the ability of a process to reduce the level of an impurity, and the purge factor is
defined as the level of an impurity at an upstream point in a process divided by the level of an
impurity at a downstream point in a process. Purge factors may be measured or predicted.

Structural alert:
In the context of this guidance, a chemical grouping or molecular (sub) structure which is
associated with mutagenicity.




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